     Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 1 of 58



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          -against-                      18 Cr. 567 (VSB)

CHRISTOPHER COLLINS,
CAMERON COLLINS, and
STEPHEN ZARSKY,
                       Defendants.



              SENTENCING MEMORANDUM ON BEHALF OF
                      CHRISTOPHER COLLINS




                                       BAKER HOSTETLER LLP
                                       45 Rockefeller Plaza, 14th Floor
                                       New York, NY 10111

                                       Attorneys for Christopher Collins
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 2 of 58



                                                TABLE OF CONTENTS

                                                                                                                                        Page

I.     Preliminary Statement ..........................................................................................................1

II.    Chris’ Background and Character ........................................................................................4

       A.        Chris’ Family and Early Life ...................................................................................5

       B.        Education and Early Working Career ......................................................................5

       C.        Chris’ Decades of Entrepreneurship, Job Creation, and Assistance to
                 Others .......................................................................................................................6

       D.        Chris Continued His Service to Others as Erie County Executive ........................10

       E.        Chris Continued A Decade of Public Service in Washington ...............................13

       F.        Chris’ Lifelong Dedication to Community Service and Giving Back ...................16

III.   Chris is Devoted to His Family, Friends, and Neighbors, With A Demonstrated
       Commitment to Helping Others .........................................................................................19

IV.    Unresolved Objections to The PSR ...................................................................................23

V.     The Relevant Sentencing Considerations Support A Non-Custodial Sentence .................25

       A.        The Offense Conduct Reflects Isolated, Uncharacteristic Conduct.......................25

       B.        The Sentencing Guidelines Calculation .................................................................28

       C.        The Guidelines Place An Undue and Disproportionate Emphasis on Gain
                 and Is Not A Fair Measure of The Offense Conduct in This Case ........................29

       D.        Other Section 3553(a) Factors Warrant A Sentence Substantially Below
                 The Guidelines Range ............................................................................................32

                 1.         Chris’ Personal History and Characteristics, and The Aberrational
                            Nature of His Conduct, Support Leniency.................................................32

                 2.         A Non-Custodial Sentence Is Warranted in Light of Chris’
                            Exceptional Public Service, Charitable Acts and Contributions to
                            the Community...........................................................................................34

                 3.         The Letters from Innate’s Former CEO, Former Chairman, and
                            Investors are Compelling Calls for Leniency ............................................36



                                                                    i
       Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 3 of 58



      E.         Chris Has Unquestionably Accepted Responsibility and Shown Complete
                 Remorse .................................................................................................................39

      F.         A Non-Custodial Sentence (With Conditions) Would Afford Adequate
                 Deterrence and Protect The Public, Impose Just Punishment, and Promote
                 Respect for The Law ..............................................................................................41

                 1.         Incarceration Is Not Necessary for Specific Deterrence ............................42

                 2.         Incarceration Is Not Necessary to Achieve General Deterrence ...............43

                 3.         Society Will Derive No Benefit from Incarcerating Chris ........................44

      G.         A Non-Custodial Sentence Is Warranted to Avoid Sentence Disparities ..............46

      H.         The Kinds of Sentences Available Strongly Support The Appropriateness
                 of A Non-Custodial Sentence ................................................................................50

VI.   Conclusion .........................................................................................................................51




                                                                  ii
            Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 4 of 58




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Gall v. United States,
   552 U.S. 38 (2007) .......................................................................................................28, 29, 50

Kimbrough v. United States,
   552 U.S. 85 (2007) ...................................................................................................................28

Koon v. United States,
   518 U.S. 81 (1996) ...................................................................................................................27

Levine v. Apker,
   455 F.3d 71 (2d Cir. 2006).......................................................................................................50

Morrisey v. Brewer,
  408 U.S. 471 (1972) .................................................................................................................50

Nelson v. United States,
   555 U.S. 350 (2009) .................................................................................................................29

Rita v. United States,
    551 U.S. 338 (2007) .................................................................................................................34

SEC v. Deeba,
   19 Cv 05346 (N.D. Cal. 2018) .................................................................................................49

SEC v. Lawson,
   14 Cv 02157 (N.D. Cal. 2014) .................................................................................................49

SEC v. Williky,
   15 Cv 357 (S.D. Ind. 2015) ......................................................................................................49

United States v. Adelson,
   441 F. Supp. 2d 506 (S.D.N.Y. 2006)....................................................................30, 33, 34, 43

United States v. Bonthu,
   18 Cr. 237 (AT) (N.D. Ga. 2018) ............................................................................................48

United States v. Booker,
   543 U.S. 220 (2005) .................................................................................................................28

United States v. Caraballo,
   219 Fed. App’x 99 (2d Cir. 2007)............................................................................................46


                                                                    iii
            Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 5 of 58



United States v. Carvajal,
   2005 WL 476125 (S.D.N.Y. Feb. 22, 2005) ............................................................................28

United States v. Cavera,
   550 F.3d 180 (2d Cir. 2008).....................................................................................................28

United States v. Chow,
   17 Cr. 667 (GHW) (S.D.N.Y. 2017) ..................................................................................26, 50

United States v. Collotta,
   07 Cr. 143 (VM) (S.D.N.Y. 2007) ...........................................................................................48

United States v. Cope,
   16 Cr. 210 (AAT) (M.D. Tenn. 2016) .....................................................................................48

United States v. Ebbers,
   458 F.3d 110 (2d Cir. 2006).....................................................................................................30

United States v. Emmenegger,
   329 F. Supp. 2d 416 (S.D.N.Y. 2004)......................................................................................30

United States v. Faibish,
   No. 12-CR-265 (ENV), 2015 WL 4637013 (E.D.N.Y. Aug. 3, 2015) ....................................30

United States v. Gupta,
   11 Cr. 907 (JSR) (S.D.N.Y. 2011) .....................................................................................27, 43

United States v. Gupta,
   904 F. Supp. 2d 349 (S.D.N.Y. 2012)................................................................................30, 35

United States v. Hobson,
   16 Cr. 351 (LTS) (S.D.N.Y. 2017) ..........................................................................................27

United States v. Joyner,
   924 F.2d 454 (2d Cir. 1991).....................................................................................................46

United States v. Knights,
   534 U.S. 112 (2001) .................................................................................................................50

United States v. Leitch,
   No. 11 Cr. 00039 (JG), 2013 WL 753445 (E.D.N.Y. Feb. 28, 2013)................................31, 50

United States v. Martoma,
   894 F.3d 64 (2d Cir. 2018), 2013 WL 12196768 (S.D.N.Y. Dec. 26, 2013) ..........................48

United States v. Melvin,
   14 Cr. 22 (TCB) (RVG) (N.D. Ga. 2014) ................................................................................48



                                                                   iv
            Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 6 of 58



United States v. Newman,
   773 F.3d 438 (2d Cir. 2014), abrogated by Salman v. United States, 137 S. Ct.
   420 (2016) ................................................................................................................................48

United States v. Ng,
   11 Cr. 161 (JSR) (S.D.N.Y. 2012) ...........................................................................................47

United States v. Okada,
   07 Cr. 144 (DC) (S.D.N.Y. 2008) ............................................................................................47

United States v. Perez,
   17 Cr. 538 (MS) (D.N.J. 2017) ................................................................................................48

United States v. Peterson,
   11 Cr. 664 (RPP) (S.D.N.Y. 2012) ..........................................................................................47

United States v. Serafini,
   233 F.3d 758 (3d Cir. 2000).....................................................................................................34

United States v. Stewart,
   15 Cr. 287 (LTS) (S.D.N.Y. 2016) ..........................................................................................47

United States v. Stewart,
   15 Cr. 287 (JSR) (S.D.N.Y. 2015) ...........................................................................................26

United States v. Thurston,
   544 F.3d 22 (1st Cir. 2008) ......................................................................................................35

United States v. Tomko,
   562 F.3d 558 (3d Cir. 2009).....................................................................................................35

United States v. Toohey,
   132 Fed. App’x 883 (2d Cir. 2005)..........................................................................................46

United States v. Vigil,
   476 F. Supp. 2d 1231, 1315 (D.N.M. 2007) aff’d, 523 F.3d 1258 (10th Cir.
   2008) ........................................................................................................................................43

United States v. Whitman,
   12 Cr. 125 (JSR) (S.D.N.Y. 2013) ...........................................................................................31

United States v. Yu,
   17 Cr. 349 (MS) (D.N.J. 2017) ................................................................................................47

United States v. Zeringue,
   14 Cr. 67 (BAJ) (RLB) (M.D. La. 2014) .................................................................................48




                                                                        v
            Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 7 of 58



Statutes

18 U.S.C. § 3553(a) ............................................................................................................... passim

18 U.S.C. § 3624(c)(2)...............................................................................................................4, 44

28 U.S.C. § 994(j) ..........................................................................................................................31

U.S.S.G. § 2B1.1(b)(1) ............................................................................................................29, 30

U.S.S.G. § 3E1.1(a) .......................................................................................................................29

U.S.S.G. § 3E1.1(b) .......................................................................................................................29

U.S.S.G. § 2B1.4(a) .......................................................................................................................29

U.S.S.G. § 2B1.4(b)(1) ..................................................................................................................29

U.S.S.G. § 3B1.3 ............................................................................................................................29

U.S.S.G. § 3C1.1 ................................................................................................................24, 28, 29

U.S.S.G. § 3D1.2(c) .......................................................................................................................29

Other Authorities

“A Report on Behalf of the American Bar Association Criminal Justice Section
   Task Force on The Reform of Federal Sentencing for Economic Crimes”
   (Nov. 10, 2014), available at https://www.americanbar.org/content/ .....................................31

FBI, “Hedge Fund CEO Sentenced (Jan. 11, 2012) available at
   https://archives.fbi.gov/archives/newyork/press-releases/2012/hedge-fund-
   ceo-sentenced-in-manhattan-federal-court-to-one-year-and-one-day-in-prison-
   for-insider-trading-scheme-that-netted-nearly-2.5-million-in-profits .....................................47

Memorandum, U.S. Dep’t of Justice, Federal Bureau of Prisons, “Home
  Confinement under the First Step Act” (Apr. 4, 2019) available at
  https://www.bop.gov/policy/om/001-2019.pdf..........................................................................4

United States v. Beshey, et al., Sentencing as to Shane Fleming (Aug. 30, 2019),
   available at https://www.law360.com/articles/1194287/ex-fitness-vp-gets-2-
   months-for-tipping-go-private-deal (Aug. 30, 2019) ...............................................................36




                                                                      vi
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 8 of 58



       On January 17, 2020, defendant Christopher Carl Collins (“Chris”) will appear before

this Court for sentencing pursuant to his plea of guilty, well in advance of trial, to one count of

conspiracy to commit securities fraud in violation of 18 U.S.C. § 371, and one count of making a

false statement in violation of 18 U.S.C. § 1001. After carefully weighing the offense against

Chris’ long history of good works, charitable acts, public service to his community, the extreme

aberrational nature of his conduct, the effects of the conduct on Chris and his family, as well as

Chris’ heartfelt and genuine regret and remorse, the United States Probation Office (“Probation”)

submitted a Presentence Investigation Report (“PSR”) concluding “that a non-guidelines

sentence is warranted.” PSR at 36. Specifically, Probation recommends a substantial downward

variance pursuant to 18 U.S.C. § 3553(a) with a custodial sentence of a year and a day, a term of

supervised release, and a $200,000 fine.

       Although we concur with Probation’s well-reasoned determination that a substantial

downward variance is warranted, we respectfully submit that a measured application of the

factors set forth in section 3553(a)—including Chris’ advanced age, prior good and charitable

acts, non-existent risk of recidivism, and acceptance of responsibility—supports a non-custodial

sentence of probation, with the conditions of a significant term of home confinement and

extensive community service, and the imposition of a substantial fine.

I.     PRELIMINARY STATEMENT

       Chris comes before the Court humbled, penitent, and remorseful. He acknowledges that

his criminal conduct was serious and betrayed the values he spent a lifetime advocating and

pursuing. Chris accepted responsibility for his actions by pleading guilty well in advance of trial,

resigning from Congress in disgrace prior to his plea and, as Probation observed, by thoroughly

expressing regret and remorse. PSR at 35. In addition, Chris reached a settlement with the

Securities and Exchange Commission (“SEC”) in which he consented to the entry of a permanent
                                                  1
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 9 of 58



injunction and a permanent bar from serving as an officer or director of a public company. In

allocuting to his crimes, Chris acknowledged the seriousness of his offenses, expressed his

shame and remorse, and apologized to his former constituents, friends, and family for letting

them down and betraying their trust. As the many letters submitted to the Court make clear, he

has also apologized and expressed remorse to many outside of the view of the Court and

Probation, including former corporate leaders of Innate Immunotherapeutics (“Innate”).

       As Chris acknowledges, he has paid a heavy price for his crimes. He is, and will forever

be, tortured with the knowledge that his actions have caused his son, to whom he always aspired

to be a role model, to live with the stain of a felony conviction, and perhaps serve time in prison.

He also carries the heavy burden of having caused his family significant pain, shame, and

torment, which can never be undone. It is difficult to imagine a more painful punishment for a

devoted father. He also tarnished a reputation that took 69 years to build, and foreclosed future

public service—his true passion—after resigning from Congressional Office in disgrace. Having

spent much of his life serving his community in upstate New York by creating jobs through

entrepreneurship, through charitable works, and through public service, he is now too ashamed to

spend significant time in the community he loves.

       Under the terms of Chris’ plea agreement, his agreed-upon Sentencing Guidelines range

is 46 to 57 months—driven primarily by an enhancement for total losses avoided, although Chris

did not trade, profit, or avoid losses himself. However, 18 U.S.C. § 3553(a) mandates that the

Court impose a sentence “sufficient, but not greater than necessary” to reflect the seriousness of

the offense, promote respect for the law, provide just punishment, and afford adequate deterrence

(emphasis added). Probation, after carefully analyzing the offense conduct, Chris’ individual

history and characteristics, and the objectives of sentencing, recommends a sentence well below



                                                 2
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 10 of 58



the Guidelines and concludes that a non-Guidelines sentence would fully achieve the statutory

sentencing objectives. For the reasons set forth below, we respectfully submit that a sentence of

probation with conditions of a significant term of home confinement and extensive community

service, and the imposition of a substantial fine is sufficient, but not greater than necessary.

        Among those 3553(a) factors relevant to this sentencing:

            As Probation accurately concluded, Chris’ criminal conduct was aberrational
             behavior committed in moments of weakness that is “difficult to adjoin . . . with the
             otherwise commendable life [Chris] has led” including “dedicat[ing] himself to
             several charitable, self-less acts, helping and assisting others, both in the public and
             private sectors.” PSR at 36. This was an uncharacteristic deviation from an otherwise
             law-abiding life.

            Chris’ out of character conduct should be considered against the backdrop of a life
             that both Probation and many others observe has been defined by substantial
             community and public service, numerous charitable and selfless acts, a dedication to
             family, and an entrepreneurial career of rescuing companies and saving jobs for
             hundreds of families in New York. He has positively impacted countless lives.

            As both scholars and courts have recognized, the Guidelines range for insider trading
             offenses, which is driven largely by the amounts in the loss table, significantly
             overstates the seriousness of the offense. That is particularly true here, where the
             conduct differs markedly in scope, duration, and intensity from that of many other
             more serious insider trading prosecutions. Unlike many of those prosecutions, which
             involve regulated market participants conducting multi-year schemes with multiple
             stocks and multiple illegal tips, the insider trading conduct in this case involved one
             security and occurred over a few days. Chris’ ruinous decision to tip his son was
             isolated, spontaneous, and emotionally driven. The absence of any pecuniary gain to
             the tipper also makes this case different than many others. Similarly, Chris’ false
             statement during a surprise, early morning interview occurred in a short period of
             time. Although the Sentencing Guidelines calculation overstates the seriousness of
             the insider trading offense, Chris fully acknowledges that his offenses were
             nonetheless serious.

            It is significant that the former CEO, Chairman of the Board, and some investors in
             Innate have written letters to the Court in support of Chris in advance of sentencing
             and urged leniency.1


1
 Pursuant to the Court’s Individual Rules, letters in support have been filed via ECF as Exhibit A, broken into
attachments due to size. Counsel has added red page numbers in the bottom right corner of Exhibit A to allow for
pin cite identification and Exhibit A will be cited as “Ex. A at [page] (Letter from [sender]).”


                                                         3
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 11 of 58



            As Probation observed, Chris has exhibited thorough acceptance of responsibility and
             genuine remorse and regret. Numerous letters to the Court, from people who know
             Chris best, reflect that outside the presence of Probation and the Court, Chris has
             personally conveyed significant regret and remorse.

            The collateral consequences Chris has suffered as a result of his offenses—including
             knowledge of the harm he has caused to his son and family, resigning from his career
             in public service, the stigma of forever being branded a felon, and being publicly
             disgraced—are severe and permanent. They ensure that Chris will never re-offend.
             These consequences are a significant warning to society at large, buttressed by
             numerous other prosecutions of insider trading. Incarceration in the circumstances of
             this case is not necessary to achieve specific or general deterrence.

            Society, as a whole, will gain no benefit from incarcerating a 69-year-old husband,
             father, and grandfather. Recently, Congress enacted the First Step Act, Pub. L. 115-
             391, which specifically encourages home confinement for elderly offenders that pose
             no danger or risk of recidivism.2 Thus, a significant term of home confinement with
             extensive community service and a fine is a suitable alternative to incarceration.
             Critically, it would allow Chris to continue giving back and contributing to the
             betterment of society while serving his sentence.

            A non-custodial sentence would avoid unwarranted sentence disparities, when
             considering the totality of the circumstances and similar cases.

        We respectfully request that the Court consider not just Chris’ conduct over a few hours

or days, but his lifetime of good works and upstanding character. In this light, we believe, the

mandates of section 3553(a) strongly counsel in favor of probation, with home confinement,

community service, and a fine.

II.     CHRIS’ BACKGROUND AND CHARACTER

        Chris is a 69-year-old devoted and loving husband, father, grandfather, and brother. He

has been married to his wife, Mary, for 31 years and has three adult children and four



2
  Specifically, Section 602 of the Act modified 18 U.S.C. § 3624(c)(2) to direct the Bureau of Prisons to maximize
the amount of time spent on home confinement when possible. Further, Section 603(a) of the Act reauthorized and
expanded a pilot program that allows the Bureau of Prisons to place elderly (60 years and older) and terminally ill
inmates in home confinement including through waiver of section 3624(c)(2)’s limitation that home confinement be
no longer than the shorter of ten percent of the term of imprisonment or six months. See Memorandum, U.S. Dep’t
of Justice, Federal Bureau of Prisons, “Home Confinement under the First Step Act” (Apr. 4, 2019) available at
https://www.bop.gov/policy/om/001-2019.pdf.


                                                         4
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 12 of 58



grandchildren. Throughout lengthy careers in business and public service his life has always

centered on three core values: devotion to family, service to others, and hard work. He has no

prior criminal history and did not personally profit from his crime.

       A.      Chris’ Family and Early Life

       Born in Schenectady, New York in 1950, Chris was the second-oldest of seven children.

The family moved when Chris’ father was periodically transferred by General Electric

Corporation, and consequently Chris spent time in Schenectady, Stamford, Connecticut, Glens

Falls, New York, and Hendersonville, North Carolina, where he completed high school. As part

of a family of nine, Chris understood the importance of productivity and hard work from an early

age. This included obtaining employment as a commissioned shoe salesman at age sixteen—a

job that he kept throughout college to pay for tuition and expenses.

       He married Mary in 1988, and together they are parents to Caitlin, 28, and Cameron, 27.

Chris is also father to Carly, 43, from his first marriage, and she has one son and three

daughters—Chris’ grandchildren—ages 14, 11, 8, and 3.

       B.      Education and Early Working Career

       After graduating high school, Chris attended North Carolina State University. He

remained busy throughout college with his studies, job as a shoe salesman, leadership roles, and

volunteerism, all while completing a degree in Mechanical Engineering. He graduated in 1972

and took a job at Westinghouse Electric settling in Birmingham, Alabama. While working for

Westinghouse, Chris also earned his MBA from the University of Alabama Birmingham in 1975.

       In 1976, Westinghouse transferred Chris to Buffalo, where he stayed for the next four

decades. This move also put Chris in proximity to his parents and younger siblings, who had

moved to Rochester while Chris was in college. He remained with Westinghouse through 1982.



                                                 5
       Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 13 of 58



       C.      Chris’ Decades of Entrepreneurship, Job Creation, and Assistance to Others

       In 1983, Chris started down the path that would come to define the next three and a half

decades of his life: entrepreneurship, job creation, and helping the community around him. While

success in business quickly followed, Chris prioritized the well-being of his employees and

community.

       Chris’ first venture was the acquisition of Westinghouse’s industrial gearing division that

faced closure. He partnered with three colleagues and arranged a leveraged buyout. After the

transaction, the new company was named Nuttall Gear Corporation. As described by one

individual, who was on the ground:

            When it became known that Westinghouse was considering exiting the
            gearing market, Chris organized a private acquisition of the business and
            moved it to the former Bell Plant in Wheatfield, NY. Words cannot express
            the difficulty of that undertaking. . . . In my opinion, his success in this
            venture was nothing short of a miracle. The saving of the jobs and the
            retention of the work in our local economy were a very significant benefit
            to our community. If that were his only accomplishment, it would be enough
            for most lives.

Ex. A at 49 (Letter from Jared Workman) (emphasis added). Another individual recounted that in

saving the business, “[Chris] put up everything that he owned to buy and save [its] existence and

many employees jobs.” Ex. A at 96 (Letter from William Grove). Moreover, it “is worth noting

that Westinghouse totally abandoned Buffalo in the early 1990’s, but the successor to Chris’

gearing company is still chugging along.” Ex. A at 49 (Letter from Jared Workman); Ex. A at 62

(“To this day Nuttall Gear continues to manufacture at our original location in Niagara Falls,

N.Y.”) (Letter from W.C. Kolkebeck); at 97 (“I always respected him for sticking his neck out

and risking everything to reinvent a business that would preserve good paying jobs in the

community.”) (Letter from Terry Galanis, Jr.).




                                                 6
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 14 of 58



       In operating Nuttall, Chris exhibited “a strong desire to serve our customers, honesty and

integrity in all he did, and a real commitment to making Nuttall Gear a better company for each

and every employee.” Ex. A at 62 (Letter from W.C. Kolkebeck). He always made a “special

effort to build a community among the employees” and was a “fierce advocate for the company

and [its] employees.” Ex. A at 60 (Letter from Sawrie Becker). “His dedication to all of our

employees was so strong that we turned down several attractive offers by potential purchasers of

the company because it was unclear what their future plans for Nuttall were.” Ex. A at 62 (Letter

from W.C. Kolkebeck). “We did not want to see Nuttall consolidated or relocated by a new

owner resulting in the loss of those jobs in Western N.Y.” Id. Chris’ concern for his employees

was further exemplified by his decision in 1991 to implement an employee stock ownership plan

(ESOP) whereby employees owned more than a third of the company at no cost to them. PSR ¶

119. When Constellation Capital purchased Nuttall in 1997, employees split more than $3

million in proportion to their ESOP ownership. Id.

       After the sale, Chris remained with Nuttall until he resigned in 1998 to run,

unsuccessfully, for Congress. Shortly thereafter, he began a decades-long career of acquiring and

turning around troubled companies including ZeptoMetrix, Bloch Industries, Volland Electric,

Niagara Ceramics, Easom Automation, and Audubon Machinery. PSR ¶¶ 112-18. The common

theme at each continued to be Chris’ ability to grow the business to create additional jobs, his

generosity toward and concern for employees, and his desire for the betterment of community.

As his business partner from Bloch details:

           We employed between 30 and 80 employees and would not have been able
           to succeed without Chris’ continued support and dedication. . . . Chris was
           passionate about creating jobs, especially blue collar manufacturing jobs
           where underemployed people could learn a trade and earn a steady income
           to provide for themselves and their family. Chris was a sincere and caring



                                                 7
       Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 15 of 58



           advocate of helping less fortunate individuals better their position in life and
           improve their family circumstances.

                                         *      *       *

           Chris supported local efforts to take formerly incarcerated people, who were
           released from prison into half-way house living, to become employees at
           our company. I was able to watch Chris interact with these former convicts,
           listen and learn about their life stories often filled with hardships, and show
           compassion for them while supporting their efforts at rebuilding their lives.
           Chris went so far as to provide financial support, including personal loans,
           to help these individuals get back on their feet and move forward rather than
           returning to their previous lives that could easily land them in jail.

                                         *      *       *

           Many employees owe their lives to Chris for believing in them enough to
           take a chance that others[] would have never offered; for this, they are
           forever grateful to Chris.

Ex. A at 39 (Letter from Brian Geary).

       At Volland, the company shares profits with its employees and has grown in ways that

created and saved countless jobs. Another of Chris’ business partners explains:

           After meeting Chris and talking about my company, I approached him about
           becoming a partner in our family business. At the time, we were struggling
           to be profitable. Through his insight, we were able to turn things around
           quickly. This obviously benefitted our employees and their families. We
           went on to purchase three other troubled companies, effectively saving
           and/or creating many jobs.

Ex. A at 82 (Letter from E. Ronald Graham). Similarly:

           His decades of experience managing small businesses proved to be very
           helpful in shaping the path and operational plans of our automation business
           in Detroit. I valued Chris’s opinions and suggestions during our 12 years of
           co-ownership. He contributed very positively in its growth. . . . Chris was a
           key element to the successful growth of the company which provided
           gainful employment, wages health insurance, and other benefits for many
           local families.

Ex. A at 94–95 (Letter from Reginald Kelley). “The point is that Chris is a driven serial

entrepreneur himself and has created hundreds of jobs for people while investing in medical,

                                                    8
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 16 of 58



industrial and manufacturing businesses.” Ex. A at 41 (Letter from Joseph McMahon). Many of

those who know Chris from these ventures over the years find remarkable his unique perspective

and drive, particularly when it comes to caring for employees.

       As explained by one partner from Audubon Machinery:

           What most people may not know is that his mentoring included the softer
           side of business, especially when it came to treating employees. He seemed
           to have a great appreciation of the value that ALL people have in an
           organization, and that they always need to be respected. Here are examples
           of some occasions when Chris went above and beyond to support people in
           the organization; 1) He encouraged us to offer loans to employees that had
           urgent needs. 2) [He] recommended helping an employee financially who
           was getting thru a bankruptcy. 3) He helped us support an employee who
           was going to lose property due to back taxes. 4) [He] backed us when we
           bailed out an employee who was incarcerated due to cascading traffic
           offenses. His family did not have the means to post bond. . . . He taught us
           lessons in business ethics that are important. He is a good man.

Ex. A at 55 (Letter from Robert Schlehr). As echoed by another partner:

           Chris also cares about our people. Prior to our partnership with Chris my
           partner Bob and I had a few negative experiences with advancing money to
           employees for personal reasons so we just stopped doing it. Once Chris
           became our partner he shared with us how he handled such requests when
           he ran Nuttall Gear. We decided to follow his lead and made assistance
           available to employees who had fallen into difficult circumstances. We have
           never regretted rethinking that position and credit Chris for having done it.

Ex. A at 41 (Letter from Joseph McMahon).

       There is no question that throughout his career, Chris has supported employees, mentored

partners, and improved the lives of those around him. He approaches business with a “caring and

sincere nature” and a true appreciation for his employees. Ex. A at 39 (Letter from Brian Geary).

Chris “respects others and is willing to invest his time, emotional support, and financial support

to help others achieve a better position for themselves and their families.” Id. For over thirty-five

years, this has been the direct, day-to-day impact that Chris has had on others.




                                                  9
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 17 of 58



       D.      Chris Continued His Service to Others as Erie County Executive

       By 2007, the State of New York had taken control of the finances of Chris’ county, Erie,

through the imposition of a fiscal control board. Infrastructure was falling apart. Chris felt that he

had a solution and, after consulting with his wife, embarked on what would be a decade-plus of

public service by running for County Executive. His reasoning:

            [w]hen Chris was considering getting involved in politics, I questioned him
            as to his motive. I implored him to reconsider, as he was already living a
            very nice life as a result of his many business successes. Chris told me that
            his motive was simply to make the world a better place for our children and
            secure a better future for our next generation. I firmly believe that this was
            his sole motivation and respected his decision.

Ex. A at 51 (Letter from Craig Schreiber) (emphasis added). Likewise, “Chris was not somebody

who needed to engage in government service” but “he saw it as an opportunity for community

service.” Ex. A at 54 (Letter from John Schmidt, Jr., Esq.).

       In running, Chris pledged to implement the business efficiency discipline known as Lean

Six Sigma to turn around the county finances and rebuild infrastructure. To show his confidence,

Chris vowed to work for one dollar a month until the state fiscal control board stepped aside and

returned management of county finances to the County Executive. He ultimately won the

election and began serving as County Executive in 2008.

       After the election, Chris formed the Brighter Future Fund as the charitable foundation

that would receive his salary and distribute it to local charities. The local charities chosen to

receive funds largely focused upon women, children and elder issues:

            Chris believed strongly in fiscal responsibility for Erie County and chose to
            donate his entire salary as County Executive to local non-profits as long as
            the budget was not balanced. . . . He asked me to chair the Brighter Future
            Fund which was endowed by his and his Deputy County Executive’s salary.
            Our steering committee was comprised of a diverse group of citizens with
            an intimate knowledge of the unmet social service needs of Erie County.
            Over a period of 18 months, at which time the county budget was balanced,
            the fund donated nearly $300,000 to charity. A significant impact was made
                                                  10
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 18 of 58



           in Erie County through his generosity, vision and leadership. This is who
           Chris Collins really is.

Ex. A at 56 (Letter from Theresa Jehle); see also PSR ¶ 110; Ex. A at 99 (“He committed to give

up his salary until the floundering county budget and fiscal crisis could be turned around, and

indeed it did under his leadership.”) (Letter from Kent Chevli); at 82 (“He donated his salary to

various worthy charities in Erie County.”) (Letter from E. Ronald Graham).

       Under Chris’ leadership, which included making difficult and sometimes unpopular

budgetary decisions, the County’s financial position greatly improved and the fiscal control

board relinquished control within eighteen months. PSR ¶ 110. The position of the County

continued to improve for the remainder of Chris’ tenure:

           For the first time in the United States, Lean Six Sigma was implemented in
           a large municipal government with great results: a $250 million surplus, the
           state fiscal control board disbanded, county debt and pension obligations
           paid down, infrastructure and parks repaired and beaches reopened.
           Following through on his pledge to be a chief executive officer and not a
           chief politician, he hired and empowered his commissioners on a pure merit
           basis and held them accountable with great results for the people of Erie
           County.

Ex. A at 80 (Letter from Ed Cox); at 112 (“When Chris left office, Erie County was operating ‘in

the black’ for the first time in many years.”) (Letter from Ronald Urmson); at 53 (“Erie County

is all the better because of Chris Collins.”) (Letter from John Schmidt, Jr., Esq.); at 89 (“As Erie

County Executive he improved our community and made life better for all of us living here.”)

(Letter from Lori Luzi).

       As a leader, Chris “was more interested in the greater good of the community instead of

his self-interest.” Ex. A at 46 (Letter from Rocco Termini). “His selfless dedication to the City of

Buffalo helped rebuild a dying city.” Id. He was “always transparent and made himself available




                                                 11
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 19 of 58



to the people at any time.” Ex. A at 97 (Letter from Terry Galanis, Jr.). Chris was “someone who

believed in strong leadership with compassion.” Ex. A at 56 (Letter from Theresa Jehle).

       A major focus for Chris was improving county services, especially for public assistance

recipients, veterans, local and county law enforcement officers, and other county employees.

PSR ¶ 110. He also led the county through various disasters: a potential Hepatitis outbreak, the

crash of Continental Flight 3407, and a major flooding event. Id. Throughout, Chris operated

with thoughtfulness and compassion:

           Chris was integrally involved in some of the most difficult historical
           circumstances that ever faced our community – a Hepatitis [] outbreak, the
           crash of Continental Flight 3407, and a funding crisis that virtually shut
           down every aspect of County services to one of the poorest communities in
           the country, just to name a few. In all of these circumstances, I personally
           stood by Chris’ side as he carefully thought through material information,
           the impact it would have on our community and ultimately made decisions
           that always put the best interest of the entire community first.

Ex. A at 43 (Letter from Cheryl Green, Esq.).

           In February 2009, our community – and my and Chris’ hometown – was
           devastated by the crash of Flight 3407. As County Executive, Chris was in
           charge of the emergency response. . . . Chris dealt with this as a father and
           a husband, not as a politician, because those were always his first instincts.

Ex. A at 19 (Letter from Chris Grant). In recounting Chris’ interaction with family members of

the crash victims, Mr. Grant remarks “Chris Collins emerged after spending hours with those

families devastated by the tragedy, eyes red and swollen from listening to the stories of their

loved ones and the loss they were only beginning to endure.” Id. at 20. “No one, as Chris said to

me, could ever appreciate the pain those families were going through.” Id. “Our only job, he

reminded me, was to be there in any way we could for them.” Id. “[H]elping others, building

successful businesses and helping countless families” and being there “when others have needed

someone to help them . . . [t]hat’s the true Chris Collins.” Id.



                                                  12
          Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 20 of 58



          E.      Chris Continued A Decade of Public Service in Washington

          In 2012, Chris ran for, and was elected to, Congress to represent the 27th District of New

York. PSR ¶ 109. He worked hard for his constituents including on legislation impacting

farmers, health care, telecommunications, and energy. One important piece of legislation was the

21st Century Cures Act, of which Chris drafted a key portion. The landmark legislation was

designed to streamline the drug and device approval process and bring treatments to market

faster:

               One of his concerns that personally affected me was his interest in bringing
               lifesaving drugs to the market faster.



Ex. A at 59 (Letter from Robert Stevenson). Chris was also a key co-sponsor of legislation to

cover Vietnam Veterans who had been exposed to Agent Orange but did not qualify for

disability or health care benefits because they served in the Navy and stayed aboard ship.

Dedication to veterans was a hallmark of Chris’s time in Congress:

               Despite the demands of being a Member of Congress he took time each and
               every month to honor our local veterans. There are many stories one could
               tell about the impact of his Veteran of the Month Program, but I personally
               found his efforts to honor Vietnam Veterans heartwarming. Many of these
               brave men never received a welcome home or thanks for their service. Chris
               would go out of his way to recognize them and finally give them the respect
               and appreciation they deserve.

Ex. A at 21 (Letter from Christopher Catt). Similarly:

               Mr. Collins has always recognized the heroic actions of those around him.
               He organized and attended countless events to honor Veterans. He obtained
               Purple Hearts, and other medals, for soldiers who never received them, and
               posthumously presented medals to the families of those who were killed in
               action. After hearing of a World War Two Veteran’s dream, he escorted the
               Veteran to throw out the opening pitch of a baseball game. On a separate
               occasion, he honored a World War Two Veteran with a flag flown over the
               United States Capitol at a ceremony he hosted after hearing the Veteran's
               recollection of the war. At this ceremony, this Veteran received the French
               Legion of Honor at the rank of Knight.
                                                   13
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 21 of 58




Ex. A at 28 (Letter from Alexandra Gould).

       Chris also drafted and sponsored the Firefighter Cancer Registry Act that directs the CDC

to study and create a database of firefighters in the United States that suffer from cancer related

to the fires they have fought. Firefighters have a 33% greater chance of contracting cancer than

the general population. The bill was signed into law in 2018:

           The knowledge he accumulated from his relationships with first responders
           in the district spurred the sponsorship and eventual passing of legislation to
           establish a fire fighter cancer registry in the United States.

Ex. A at 23 (Letter from George McNerney).

       Chris always prioritized constituent service with an emphasis on veterans, the elderly,

and children, as well as employment and jobs. Ex. A at 67 (Letter from Angelo Natale). Indeed,

this focus on constituents was a cornerstone of his time in Congress. As shared in a poignant

personal story from one constituent:

           About a year ago, my 44 year old brother, was gravely ill and living
           overseas…[w]hile he knew he needed to be back home for proper medical
           care, he would not come home without his wife despite being deathly ill. . .
           [but] she had no US Visa to travel on a medical flight with him . . . I reached
           out to several government officials [and] Mr. Collins was the only one that
           offered assistance. I am eternally grateful that he did his best for me and my
           family through a horribly difficult time. . . . [h]e reached out his hand when
           neither I nor my family knew where to turn.

Ex. A at 73–74 (Letter from Karen Van Houtte). One former staffer notes that “he really took

pride in our constituent relations . . . it was always a priority of Chris that we would do anything

we could for anyone who walked through our doors.” Ex. A at 17 (Letter from Erynn Hook); see

also Ex. A at 21 (“He understood that he worked for his district and put the needs of his

constituents first and was their unapologetic voice.”) (Letter from Christopher Catt). As another

constituent added, “[h]e was always kind, responsive and good-natured . . . I came to regard him



                                                 14
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 22 of 58



as forgiving, uniquely service-oriented, constituent-focused, and eager to help.” Ex. A at 45

(Letter from Michael Caputo). And others:

         Chris has always been available for the people 110%. He sincerely cared
         about each and every one of the taxpayers he represented and beyond. He was
         always a dedicated elected official.

Ex. A at 119 (Letter from Lynne Johnson & David Godfrey).

       Chris’ former colleagues in Washington also recognized his dedication to the job. Indeed,

more than a dozen current and former Members of Congress, including former Speaker John

Boehner, wrote in support of Chris which serves as a testament to his character and his impact on

those he worked closely with. As one Congressman described, “[d]uring all of my dealings with

Chris I always found him to be honest, straightforward and a strong advocate for New York even

when it did not directly affect his district or greatly benefit him politically.” Ex. A at 76 (Letter

from Hon. Peter King). Another observed, “[o]n many occasions I saw how much Chris cared

and how hard he worked for those that elected him. . . . he always showed a deep level of

concern and resolve to make it right.” Ex. A at 108 (Letter from Hon. Renee Ellmers). Those

around him “felt he truly cared about his job and doing the best by his constituents, whether they

voted for him or not. I always felt that Chris served with a servant’s heart . . . .” Ex. A at 91

(Letter from Hon. Todd Rokita).

       Ultimately, Chris brought to Congress the same humility, humanity, and commitment to

others that has characterized his entire professional life. One former member of Chris’ staff

describes his time in service: “Chris has taught me so many valuable lessons over the years . . .

[m]ore than a leader and a boss, I have come to think of him as a friend.” Ex. A at 17 (Letter

from Erynn Hook). Further:

           [I]t is too often in D.C. that people have inflated egos, but that was never
           Chris. For Chris, it was always about making sure that people who didn’t

                                                  15
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 23 of 58



            always get noticed, were noticed. Before she retired, I remember Chris
            making sure that the elevator operator that he always chatted with was given
            a personal Christmas card, from him along with some Sponge Candy – a
            Buffalo, NY delicacy. That’s something that’s carried with me, making sure
            that no one goes un-noticed and small gestures really do make a difference.

Id. Another former staffer adds that, “I quickly learned from him if you wake up every day, turn

on your brain and give your best you will accomplish your goals.” Ex. A at 23 (Letter from

George McNerney). Ms. Hook emphasizes that “I wouldn’t be who I am today if it weren’t for

the lessons he’s taught me, the advice he’s given, the hardships we’ve been through, and all the

great memories we’ve all shared as a team.” Ex. A at 18 (Letter from Erynn Hook).

       Chris will never again be able to pursue this true passion of his: public service.

       F.      Chris’ Lifelong Dedication to Community Service and Giving Back

       Long before taking up elected office, Chris strived to give back to his community. He has

a life-long connection to the Boy Scouts of America, an organization where he began as a Cub

Scout, advanced through Boy Scouts, and earned the Eagle Scout rank in 1964. PSR ¶ 121. He

served in numerous leadership roles, chaired the National Scout Jamboree committee, and has

been honored at a national level. Id. But, it is at the personal level where Chris’ commitment to

Scouting has been embodied most.

       For example, he served as an assistant scoutmaster for his son’s Troop, went to summer

camps and Jamborees, participated in monthly outings, and accompanied Scouts to the Philmont

High Adventure Base. As Mary explains, “Chris designed the patches for the National Scout

Jamborees and financially covered the cost” and in other instances “provided camping equipment

for the scouts who couldn’t afford the equipment.” Ex. A at 2 (Letter from Mary Collins).

Another time, he purchased a kiln for a local scout camp’s ceramics program when it was

needed. Id. Beyond just financial support, however, “[w]hen Chris sees a need, he steps in”:



                                                16
       Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 24 of 58



            When the scouts went to Ft. George to participate in the War of 1812
            reenactment, over a dozen young scouts didn’t have a wooden gun and were
            told they could use a broomstick as a make-believe gun. That wasn’t
            acceptable to Chris, so he went to work in our basement workshop and made
            twelve beautiful wooden model rifles for the young scouts. This is just one
            example of Chris jumping into action to try to help others.

Id. Others echo that Chris “has always been generous with his time and resources on behalf of the

Boy Scouts, and the community in general.” Ex. A at 54 (Letter from John Schmidt, Jr., Esq.).

Likewise:

            I am an Eagle Scout, as is Chris. He is one of very few Eagle Scouts
            recognized as a Distinguished Eagle Scout at the national level. Chris is a
            huge supporter of BSA, not only with his generous donations, but as
            someone who believes in the Scout principles of trustworthy, loyal[],
            helpful, . . . Chris was active in his son’s scout troop as an assistant
            scoutmaster. Chris helped many scouts, including his son, earn the Eagle
            Scout award. Chris could always be counted on to support Scouting with
            his time, talent and money.

Ex. A at 114 (Letter from Mark Mattar). Chris’ success helping shape young men is manifest:

            To this day, the young men I’ve encountered in my travels who became
            Eagle Scouts under both Chris Collins and my direction have made it a point
            to comment on what a great influence Chris had been on them and the great
            role model he has been to them.

Ex. A at 100 (Letter from Ronald Nowak). Further:

            We are not perfect beings, but at his core I believe Chris strives to emulate
            the mission of scouting in his every day life. I witnessed first hand the
            patience and persistence he exhibited in teaching these values to young
            people engaged in scouting. And perhaps it is through his dedication to
            teaching the values of scouting to our youth that Chris made his most
            important contribution to our community.

Ex. A at 69 (Letter from Victor Martucci).

       Apart from Scouting, Chris has been involved with the State University of Buffalo Center

for Entrepreneurial Leadership (CEL) for the past twenty years. PSR ¶ 122. CEL is a nine-month



                                                 17
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 25 of 58



program for small business owners who want to grow their businesses and find solutions for

problems they may be encountering. Id. One former mentee describes:

           I contacted [Chris] and asked him if he would be willing to Mentor me
           through a one year program at the University of Buffalo. The program was
           at the Center for Entrepreneurial Leadership and would change both of our
           lives. . . . Chris’ help was invaluable to me. . . . His advice was practical and
           gave me the confidence to expand into the role I need to fill as the leader of
           this small new company

Ex. A at 40 (Letter from Joseph McMahon). And another, “[h]e provided vast amounts of his

personal time assisting entrepreneurs he had met both through [the Young Presidents

Organization] and The Center for Entrepreneurial Leadership at the University of Buffalo. This

commitment to our community helped keep and grow employment in Western NY.” Ex. A at 83

(Letter from Paul Harder); see also Ex. A at 104 (“Chris, experienced in consolidating businesses

was very helpful mentoring me through some difficult challenges and opening paths to growth.

The employees of the company including me were very fortunate to have him cross our paths.”)

(Letter from August Iacovitti). One writer estimates that, throughout his involvement in the

program, “Chris was engaged in one way or another by at least 100 entrepreneurs.” Ex. A at 40

(Letter from Joseph McMahon).

       Chris has also served on the Federal Reserve Bank of New York, Small Business and

Agricultural Advisory Council, the Kenmore Mercy Hospital Board of Trustees, and the United

Way House of Delegates. PSR ¶¶ 123-25. In these endeavors, too, he was always “very

generous, supportive and kind. . . . I know Chris Collins to be a humble and dedicated

community servant, a giver to those in need . . .” Ex. A at 101 (Letter from Brian Rusk); see also

Ex. A at 100 (“I've tried to convey in this letter what a positive role model Chris Collins has been

and continues to be for many young men. Thank you for taking into consideration the positive




                                                  18
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 26 of 58



impact Chris has had on the many lives he has touched.”) (Letter from Ronald Nowak); at 58

(“While I understand the seriousness of his actions I hope the court will show some leniency

given his service to our community and to the country.”) (Letter from Maureen Griffin

Tomczak). In short, Chris’ “selfless acts and desire to serve the people have been impactful at

every level.” Ex. A at 67 (Letter from Angelo Natale).

       Chris’ strength of character, civic-mindedness, compassion, and dedication have

unquestionably been a defining aspect of his remarkable life.

III.   CHRIS IS DEVOTED TO HIS FAMILY, FRIENDS, AND NEIGHBORS, WITH A
       DEMONSTRATED COMMITMENT TO HELPING OTHERS

       According to those who know him best—family, friends, neighbors, colleagues, and

business partners—Chris is a kind, loving, hardworking, decent man who is devoted to his

family and community. He has sought to live an upright life and make the world around him a

better place. As his wife of 31 years notes, she has never met somebody more positive,

encouraging, supportive, or caring than Chris. Ex. A at 1 (Letter from Mary Collins).

       Chris has striven to make his family feel safe and secure, id., while devoting bottomless

time, energy, and dedication to his wife and children. Id. at 2; at 11 (Letter from Ted Collins). He

cares deeply for his siblings, all but one of whom were younger. Ex. A at 12 (Letter from

Claudia Topping). He has always provided “friendship and stability.” Ex. A at 13 (Letter from

Deene Kennon). Simply put, “[t]he brother I know is dynamic, hard-working, generous and

helpful.” Ex. A at 14 (Letter from Lynn Schiller).

       Throughout his life, Chris truly put his family first—cherishing his children’s trips,

sports, school projects, and extracurricular activities. He has always been present and caring. His

success in this regard is readily apparent. As Caitlin, his younger daughter, notes:

           [Chris] has always been an amazing father, friend and role model to me. He
           showed up to every dance recital, parent teacher conference and graduation
                                                19
          Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 27 of 58



            ceremony. . . . he never let his outside activities interfere with family time.
            Whenever I would call, he would drop everything he was doing to speak to
            me and help me.

Ex. A at 5 (Letter from Caitlin Collins). Moreover, she can bear witness to extraordinary acts of

kindness, love, generosity, and charity that turn “each day with him [into] a gift.” Id. at 7. After

Caitlin                                          , her father “was there for me in ways I never

could have expected from him. He has always been an amazing father, but the support I have

received from him since the diagnosis has been unwavering.” Id. His older daughter, Carly,

likewise recounts:

            When I was in need, he gave without reserve. He was always interested in
            my successes and responsibilities, encouraging me to be a leader and to be
            the best human I could be. He never gave in to the distance of time and
            space and creatively turned the limited time we had together into exciting
            family traditions and experiences . . .

                                        *       *       *

            My 4 children love their Papa Chris very much and love to visit, write letters
            and look forward to each gift and card that comes their way, without fail,
            giving them a stable sense of family and tribe.

            My father has always been a responsible, reliable, generous, dedicated dad
            to me.

Ex. A at 8 (Letter from Carly Coleman). Chris has “always encouraged his children to lead lives

of substance, accomplishment and with a concern for the lives of others.” Ex. A at 106 (Letter

from Brian Lipke); see also Ex. A at 93 (“Above all, he is a good husband and father who I know

to be an honorable man with integrity.”) (Letter from Michelle DeBergalis); Ex. A at 64 (“This

unfortunate incident does not tell the full story of who Chris is. He is a considerate and nurturing

husband, father and friend.”) (Letter from Margaret Saeli). It is no wonder that one former

colleague observed that even in “casual conversation[]” “his concern for his wife and children

was evident . . . . [i]t was always my belief that Chris Collins’s dedication to his family was

                                                  20
           Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 28 of 58



paramount in his life.” Ex. A at 76 (Letter from Hon. Peter King). His devotion to family makes

the consequences of his criminal conduct with regard to his son, Cameron, all the more difficult

to bear.

         Outside of his family, Chris has shown the same caring spirit, generosity, and compassion

to friends, neighbors, and strangers alike. Mary describes that after a nasty divorce:

             My one friend was on the verge of losing her home to foreclosure. Chris
             stepped in and purchased her mortgage from the bank to let her stay in the
             home so she could sell it on her schedule and keep her family safe.

                                                          []

             Another friend didn’t have an acceptable credit rating after her divorce and
             couldn’t purchase a home. Chris stepped up and provided her with a low
             interest mortgage so she could buy a home.

                                                          []

             Another work friend who Chris didn’t even know had twin babies and
             couldn’t afford to buy them cribs. Chris bought them cribs and other
             bedroom furniture with no one knowing his generosity.

Ex. A at 3 (Letter from Mary Collins).3 These acts, and this pattern, exemplify who Chris

fundamentally is as a person – “[this] is the Chris I know and love.” Id. As one family friend

recounted, “Chris provided financial stability and housing for a woman who[] was mentally,

physically, and financially abused by her husband, whom later abandoned her and her children.”

Ex. A at 51 (Letter from Craig Schreiber).



3
  Avoiding publicity for his generosity and philanthropy is a theme for Chris. See, e.g., Ex. A at 71 (“For Chris, he
wasn’t concerned about scoring points in the public arena. He specifically asked me to not share our conversations
about his philanthropy, charitable works and good deeds. For him, he put service over self because it was the right
thing to do.”) (Letter from Stefan Mychajliw); at 87 (“While [Chris and Mary] have been very private about their
philanthropy efforts in Western NY, I know firsthand about their kindness and generosity. . . . [I]t’s been my
experience they always donate monetarily as well as their time.” (Letter from Kathi Sullivan). “To name just a few
of the many charities they support: Maria Love Foundation, Suneel’s Light Foundation, Junior League of Buffalo,
Greater Buffalo Youth Orchestra Foundation, Boy Scouts of America (BSA), Oishei Children’s Hospital, [and the]
Salvation Army.”). Id.


                                                         21
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 29 of 58



       Another former colleague and friend adds that in working together:

           you get a glimpse of who people really are. You see their character at their
           core. Chris was my friend at times when he didn’t have to be my friend . . .
           [h]e is a person of loyalty, and courage. . . . [and] I continue to believe he is
           a good man who loves his family and country.

Ex. A at 70 (Letter from Hon. John Boehner). Another friend adds that, “[w]hen Chris learned

that my husband was suffering from a progressive neurological condition that eventually took his

life, he extended himself to our family in a way that was instrumental in how our family survived

during some extremely challenging times.” Ex. A at 60 (Letter from Sawrie Becker).

       A particularly poignant story comes from a retired prosecutor who has “personally

experienced the degree of his integrity, kindness and compassion.” Ex. A at 42 (Letter from

Elizabeth Donatello Vito, Esq.). Ms. Vito explains how after she was subjected to sexual

harassment—“[a] moment that was painful, emotional and at times humiliating”—

           [v]ery few people wanted to be seen associating with me, including many
           in Chris’ own political party, in his own district. But Chris, despite the
           potential political fallout, never wavered in his friendship and support. Not
           only did he listen with compassion he and Mary never treated me or my
           husband any differently than they had before. It is easy for others to
           minimize the small acts of friendship . . . but in that moment in time those
           simple common acts provided a much needed lifeline. In those moments I
           wasn’t alone, I wasn’t a public spectacle, instead I was surrounded by the
           warmth of friendship.

Id. (emphasis added). Ms. Vito also adds that, “[p]erhaps the best measure of his character,

beyond taking responsibility for his actions, is the fact that his family and friends have stayed by

his side steadfast in their love and support despite how easy, and socially expedient, it would be

to walk away.” Id.

       These words ring true. More than a hundred family members, friends, constituents,

partners, and supporters have written letters to the Court on behalf of Chris. Each represents a




                                                  22
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 30 of 58



life that Chris has touched in ways great and small.4 Together, they show a man driven by

humility, charity, selflessness, passion, and devotion. There can be no question that Chris is

dedicated to family, community, and the well-being of others.

         His character and established record of extraordinary deeds deserves significant

consideration.

IV.      UNRESOLVED OBJECTIONS TO THE PSR

         In the PSR, Probation has accepted the parties’ consensus with respect to the Guidelines

calculation and has recognized that a substantial variance is warranted in this case. However,

three minor objections remain outstanding concerning factual arguments by the Government that

should not be relevant, in any event, to the Court’s sentencing decision.

         First, paragraph 34 makes an unsupported implication that Chris hypothetically would

have traded but for the technical inability to do so. There is no evidence to support this

supposition by the Government and, more importantly, a defendant’s sentence must not be based

upon what might have happened under a hypothetical set of circumstances that did not occur.

         Second, paragraphs 38 and 41 imply that there is evidence to establish that Chris and his

son agreed, some time prior to their surprise FBI interviews, to use the trading halt in Innate

stock as a cover story. However, nothing produced by the Government in discovery, including,

but not limited to, FBI Form 302s and Grand Jury testimony establishes that Chris and his son

discussed in advance that they would use the fact of the trading suspension as a false excuse

when later questioned by the FBI in separate, unannounced visits to their homes. Moreover, the

Superseding Indictment does not specifically charge this conduct and it was not part of either



4
  Of course, not every letter can be recounted in detail. This is not meant to minimize the role Chris has played in the
lives of the writers or the strength of their sentiment.


                                                          23
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 31 of 58



Chris’ or Cameron’s allocutions. Although the Government seeks to infer that Chris and

Cameron previously discussed such a cover story from the fact that they both mentioned the

trading halt during their FBI interviews, correlation is not causation. As a matter of common-

sense, the fact that Innate had publicly announced a suspension in trading in advance of

announcing the drug trial results was an obvious, untruthful excuse for trading prior to the public

release of the results. There simply is no basis, beyond mere conjecture, to find that Chris and

Cameron had a prior agreement to use a particular cover story. In any event, as a practical matter

this contested fact has no impact on the Guidelines calculation, because Chris has agreed to a

two-point enhancement under U.S.S.G. § 3C1.1 for obstruction.

        Finally, paragraph 39 is wholly irrelevant. As records produced in discovery show,

immediately after his FBI interview Chris unsuccessfully attempted on multiple occasions to

reach Cameron. It was during this effort to contact Cameron, that he contacted Lauren Zarsky’s

brother looking for Cameron and obtained Dorothy Zarsky’s number. An email from Lauren’s

brother to Lauren confirms that, “Cam’s dad just gave me a call and is trying to get in touch with

Cam.”5 The attempted call to Dorothy at 10:39 am, went to voicemail and no conversation

occurred. The call to Dorothy was an unremarkable and unsuccessful attempt to locate his son,

and has no relevance to sentencing.

        While Chris maintains his objections to these minor factual points contained in the PSR,

we respectfully submit that, as both a legal and practical matter, they should be of no relevance

to the Court’s sentencing decision. They have no additional impact on the Guidelines calculation,

and do not require an evidentiary hearing.



5
 As we are not requesting an evidentiary hearing, we have not attached this email message. However, should the
Court wish to review it, we can provide a copy.


                                                       24
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 32 of 58



V.       THE RELEVANT SENTENCING CONSIDERATIONS SUPPORT A NON-
         CUSTODIAL SENTENCE

         A sentence must be “sufficient, but not greater than necessary” to achieve the statutory

sentencing purposes detailed in 18 U.S.C. § 3553(a)(2) for the sentence imposed to: (A) reflect

the seriousness of the offense, promote respect for the law, and provide just punishment for the

offense; (B) afford adequate deterrence to criminal conduct; (C) protect the public from further

crimes of the defendant; and (D) provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner.

         The factors to be considered under section 3553(a) in fashioning an appropriate sentence

include the nature and circumstances of the offense and the history and characteristics of the

defendant; the kinds of sentences available; the Sentencing Guidelines Range; pertinent policy

statements of the Sentencing Commission; the need to avoid unwarranted sentence disparities;

and the need to provide restitution to victims. See 18 U.S.C. § 3553(a)(1)-(7).6

         Chris accepted responsibility for his actions and pled well in advance of a scheduled trial.

Probation and many who know him best have recounted in detail Chris’ heartfelt expressions of

remorse and regret for his conduct. He has already paid a heavy price. We respectfully submit

that a measured consideration of the 3553(a) factors supports a sentence of probation plus a

significant term of home confinement, extensive community service, and imposition of a

substantial fine. This sentence will accomplish justice and satisfy the sentencing objectives.

         A.       The Offense Conduct Reflects Isolated, Uncharacteristic Conduct

         Although Chris’ life has been defined by hard work, charitable deeds, family devotion,

generosity, civic engagement, job creation, public service, and giving back to community, he


6
 Chris neither traded himself nor profited from the trading of others. The Government is not seeking restitution and
all of the defendants have settled with the SEC. PSR ¶¶ 46-47. Accordingly, this final factor is not relevant.


                                                         25
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 33 of 58



made critically bad decisions over the course of a few hours that have brought him before this

Court. Probation said it best when it observed that, “[i]t is difficult to adjoin the individual who

committed the illicit actions in this offense, with the otherwise commendable life Collins has

led.” PSR at 36. Chris accepts responsibility for his conduct and does not attempt to make

excuses for it. However, a measured consideration of his history and characteristics, when

considered along with the nature and circumstances of this offense, support a non-custodial

sentence.

         As recounted by former Innate CEO Simon Wilkinson, Chris was a steadfast and

significant supporter of Innate for more than a decade. He had, on more than one occasion, come

to the company’s rescue financially because he had high hopes for the good that Innate could do.

As a consequence, he was emotionally invested in Innate’s outlook for success. Moreover, in

early 2017, all indications for Innate’s drug trial pointed to impending success, and a potential

cure for a debilitating disease. The ultimate failure of Innate’s drug trial was shocking and

devastating, for Chris in particular. PSR ¶ 55; see also Ex. A at 37 (“[T]he trial failure surprised

and devastated everyone associated with the company. We were all shocked.”) (Letter from

Michael Quinn). It was under these emotional circumstances that Chris made the terrible

decision to share the bad news with his son, Cameron. The insider trading crime itself occurred

in a phone call lasting less than seven minutes.

         Unlike many insider trading cases prosecuted in this district, the offense here was not a

long running, pre-meditated scheme among industry professionals. Similarly, the conduct did not

involve multiple securities or multiple tips.7 Chris did not receive a kickback or any other


7
  Cf. United States v. Chow, 17 Cr. 667 (GHW) (S.D.N.Y. 2017) (involving the co-founder of a private equity firm
who provided tips on numerous occasions over a seventeen-month period and approximately $5 million in illicit
profits); United States v. Stewart, 15-cr-00287-JSR (S.D.N.Y. 2015) (involving an investment banker and serial
insider trading on multiple tips over four years resulting in more than $1.1 million in illicit profits); United States v.

                                                            26
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 34 of 58



personal financial benefit, and he did not trade himself.8 Even the Government conceded that

“[i]t [was] a one-event, one-stock, three-defendant scheme that took place over five days.”

(Gov’t Opp. to Defs.’ Discovery Mots. 8, March 8, 2019, ECF No. 69). Probation, too,

recognized the aberrational and isolated nature of Chris’ offense conduct:

             We understand that his motivation in becoming involved in the offense was
             out of concern for his son. This is no excuse to commit a crime, but it
             appears that Collins had a moment of weakness and executed bad judgment
             in the offense.

PSR at 36.

        Nonetheless, it remains a very serious lapse of judgment committed by someone who

would give anything to undo his mistakes. Chris acknowledged this in his allocution and in his

statement of remorse:

             I was distraught that MIS 416 was not successful and would no longer be
             available to the compassionate trial patients in New Zealand and Australia.
             The failure of the trial was confidential corporate information that would
             not be released to the public for several days. As a Board member, I had a
             duty not to disclose it before public release by the company. News of the
             trial failure was shocking and devastating to me. Overcome by emotion I
             called Cameron and my wife Mary. Although I cannot remember exactly
             what I said to either of them, I made it clear that I had received bad news
             about Innate’s drug trial result, and Cameron and I agreed that if he could
             trade any of his stock, he would.

PSR ¶¶ 54-55. See also Ex. A at 3 (describing the phone call as “rash, emotional”) (Letter from

Mary Collins); at 48 (“His wasn’t a pre-meditated, carefully contrived plan to cheat. Rather, it




Gupta, 11 Cr. 907 (JSR) (S.D.N.Y. 2011) (involving former McKinsey & Co. managing director and Goldman
Sachs board member and one of the largest hedge fund trading cases in history, yielding $64 million); United States
v. Hobson, 16 Cr. 351 (LTS) (S.D.N.Y. 2017) (involving investment advisor and six-year-long scheme).
8
 Put another way, this conduct was not in the “heartland” of insider trading cases as envisioned by the Sentencing
Commission. See, e.g., Koon v. United States, 518 U.S. 81, 96 (1996) (a sentencing court must determine whether a
particular case presents features that “take the case out of the Guideline’s heartland.”)


                                                        27
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 35 of 58



was a spontaneous and emotional reaction to a devastating turn of events.”) (Letter from

Geoffrey Rosenberger).

       The false statements charge similarly involved conduct that occurred over an extremely

short period of time—namely during the course of a 6:30 a.m. surprise interview by the FBI—

when a father lied in a misguided effort to protect his family and himself. Notably, at the time of

the interview, the FBI had already developed probable cause to believe insider trading had been

committed and had secured at least sixteen search warrants. The false statements made by Chris

and others, while material, were likely not credited. Indeed, the investigation was completed and

the indictment returned within a few months after the interviews. However, in his allocution,

Chris readily admitted that he falsely denied sharing the trial results with his son and

acknowledged the seriousness of the offense. Critically, he also stipulated to a two-level

enhancement under U.S.S.G. §3C1.1 as applicable in light of this conduct which further

demonstrates the fullness of his acceptance of responsibility.

       B.      The Sentencing Guidelines Calculation

       There is no disagreement among Chris, Probation, and the Government over the

applicable Guidelines calculation. However, as the Court is aware, the Guidelines are “advisory”

and sentencing courts should “tailor the appropriate punishment to each offense in light of other

concerns.” United States v. Cavera, 550 F.3d 180, 187 (2d Cir. 2008) (quoting United States v.

Booker, 543 U.S. 220, 245 (2005)). Accordingly, the Sentencing Guidelines represent an “initial

benchmark,” but are “only one of the factors to consider” when imposing a sentence. Gall v.

United States, 552 U.S. 38, 49, 59 (2007). Accord Kimbrough v. United States, 552 U.S. 85, 90

(2007) (the Guidelines “serve as one factor among several courts must consider in determining

an appropriate sentence”); United States v. Carvajal, 2005 WL 476125, at *5 (S.D.N.Y. Feb. 22,



                                                 28
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 36 of 58



2005) (stating that a “sentence that satisfies only the Guidelines would be ‘greater than

necessary, to comply with the purposes’ set forth in the statute.”).

       Indeed, because they are only a starting point, there is no presumption that the Guidelines

range is reasonable. Gall, 552 U.S. at 50. This character of the Guidelines—being both advisory

and not presumptively reasonable—has been emphasized by the Supreme Court. See Nelson v.

United States, 555 U.S. 350, 352 (2009) (“Our cases do not allow a sentencing court to presume

that a sentence within the applicable Guidelines range is reasonable. . . . The Guidelines are not

only not mandatory on sentencing courts; they are also not to be presumed reasonable.”).

       As the parties agree, the counts of convictions are grouped pursuant to U.S.S.G. §

3D1.2(c) and § 3C1.1 note 8, with section 2B1.4 applicable to the group. The base offense level

is 8 pursuant to U.S.S.G. § 2B1.4(a). A 14-level increase applies under U.S.S.G. §§ 2B1.4(b)(1)

and 2B1.1(b)(1)(H). Two additional 2-level increases are applicable under U.S.S.G. §§ 3B1.3

and 3C1.1. Finally, a three-level reduction is warranted pursuant to §§ 3E1.1(a) and 3E1.1(b) for

acceptance of responsibility and timely entry of a guilty plea. Consequently, the parties

anticipate that the adjusted offense level is 23. Because he has no criminal history, Chris’

criminal history score is zero, giving him a criminal history category of I. The corresponding

Guidelines imprisonment range is 46-57 months. In the PSR, Probation has accepted the parties’

consensus with respect to the Guidelines calculation, PSR ¶¶ 60-71, with a recommendation for a

substantial variance.

       C.      The Guidelines Place An Undue and Disproportionate Emphasis on Gain and
               Is Not A Fair Measure of The Offense Conduct In This Case

       Notwithstanding the Guidelines calculation, we respectfully submit that a substantial

variance is warranted here because the Guidelines methodology in this and many other insider

trading cases, places a disproportionate reliance upon the loss table set forth in section


                                                 29
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 37 of 58



2B1.1(b)(1). In the instant case, Chris’ advisory Guidelines range is driven largely by a 14-point

increase based on the loss table in § 2B1.1(b)(1). For good reason, numerous courts and scholars

have strongly criticized this methodology for assessing the seriousness of an insider trading case

as irrational or unjust.

        Courts have increasingly recognized the loss table as a poor proxy for culpability. “Under

the Guidelines, it may well be that all but the most trivial frauds in publicly traded companies

may trigger sentences amounting to life imprisonment.” United States v. Ebbers, 458 F.3d 110,

129 (2d Cir. 2006). As another judge in this District noted in an insider trading case that, unlike

this one, spanned many years and involved multiple tips:

            By making a Guidelines sentence turn, for all practical purposes, on this
            single factor, the Sentencing Commission effectively ignored the statutory
            requirement that federal sentencing take many factors into account, see 18
            U.S.C. § 3553(a), and, by contrast, effectively guaranteed that many such
            sentences would be irrational on their face.

United States v. Gupta, 904 F. Supp. 2d 349, 351 (S.D.N.Y. 2012). See also, United States v.

Faibish, No. 12-CR-265 (ENV), 2015 WL 4637013, at *2 (E.D.N.Y. Aug. 3, 2015) (“The loss

table is but one example of the seemingly mindless acceleration of penalties for economic crimes

incorporated into the current Sentencing Guidelines regime.”); United States v. Adelson, 441 F.

Supp. 2d 506, 509 (S.D.N.Y. 2006) (describing the “inordinate emphasis that the Sentencing

Guidelines place in fraud cases on the amount of actual or intended financial loss”); United

States v. Emmenegger, 329 F. Supp. 2d 416, 427 (S.D.N.Y. 2004) (describing loss amount as a

“relatively weak indicator of the moral seriousness of the offense or the need for deterrence”).

        In addition to skepticism from courts in this Circuit, the economic crimes Guidelines

have received broad criticism from across the legal profession. Indeed, the ABA commissioned a

task force to review and propose amendments to the economic crimes Guidelines. Published in



                                                 30
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 38 of 58



November 2014, the ABA Task Force Report proposed an overhaul that shifted the emphasis

away from loss. See “A Report on Behalf of the American Bar Association Criminal Justice

Section Task Force on The Reform of Federal Sentencing for Economic Crimes” (Nov. 10,

2014), available at https://www.americanbar.org/content/

dam/aba/publications/criminaljustice/economic_crimes.pdf. Moreover, the ABA Task Force

Report recommended that where a defendant has zero criminal history points and the crime was

not “otherwise serious” under 28 U.S.C. § 994(j), the offense level should be no greater than 10

and “a sentence other than imprisonment is generally appropriate.” Id. at 2.

       It is clear the Guidelines miss the mark for economic crimes:

           [t]he Sentencing Commission was supposed to ensure “the general
           appropriateness” of probationary sentences for first-time offenders unless
           they commit “crime[s] of violence or ... otherwise serious offense[s].”
           Instead, it unilaterally declared in 1987 that every theft, tax evasion,
           antitrust, insider trading, fraud, and embezzlement case is “otherwise
           serious,” and thus no more eligible for a sentence of probation, even when
           committed by a firsttime offender, than would a crime of violence.

United States v. Leitch, No. 11 Cr. 00039 (JG), 2013 WL 753445, at *1 (E.D.N.Y. Feb. 28,

2013) (internal citations omitted). The collective view among many respected jurists, scholars,

and practitioners is that a sentencing court’s considerations should not begin and end with gain,

but, rather, should turn on a number of other factors, a broad view of the offense, and the specific

characteristics of the defendant. The advisory Guidelines range of 46-57 months in this case “is

skewed irrationally” through an undue emphasis on gain. United States v. Whitman, 12 Cr. 125

(JSR) (S.D.N.Y. Jan 24, 2013) Sentencing Tr. at 7:19-20; 9:17-18, attached as Ex. B.

       The U.S. Attorney’s Office itself has implicitly recognized that the Guidelines can be

overstated in insider trading cases. In the recent case of Sean Stewart, for instance, the defendant

was due to be re-sentenced following a guilty verdict in a retrial of a conviction that had been set



                                                 31
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 39 of 58



aside on appeal. His advisory sentencing guidelines range was 63 to 78 months. Unlike Chris,

Mr. Stewart was a financial insider on Wall Street and his scheme was long-running—he

“repeatedly and persistently” breached his duties on at least five separate occasions over four

years. See 1:15-cr-00287-JSR, ECF No. 363 at 27 (Government’s Sentencing Submission).

Moreover, he committed perjury in his first trial and violated his bail conditions. Nonetheless,

the Government took the position that a sentence of only 36 months—slightly more than half of

the Guidelines minimum—was reasonable for Mr. Stewart. Id. at 28. Ultimately, the Court

sentenced Mr. Stewart to 24 months’ imprisonment for conduct that was substantially more

culpable and serious than the conduct in the instant case.

       We agree with the judgment of Probation that the Guidelines range of 46 to 57 months is

not an appropriate indicator of the sentence Chris should receive.

       D.      Other Section 3553(a) Factors Warrant a Sentence Substantially Below The
               Guidelines Range

       After carefully evaluating the section 3553 factors, Probation concluded that, “given

Collins’s lack of a criminal history record, the non-violent nature of his offense, his acceptance

of responsibility in the offense, and his service to his community, we believe that a non-guideline

sentence is warranted. . . .” PSR at 36; PSR ¶ 151 (“A variance may be warranted in this case

based on the defendant’s personal characteristics, such as his lack of criminal history record, and

his history of volunteerism and service to the community, pursuant to 18 USC 3553(a).”).

Probation is correct in its conclusion that the section 3553(a) factors support leniency and a

substantial variance from the Guidelines.

               1.      Chris’ Personal History and Characteristics, and The Aberrational
                       Nature of His Conduct, Support Leniency

       Section 3553(a)(1)’s directive that a sentencing court consider “the history and

characteristics of the defendant” as a necessary sentencing factor is a balancing exercise:

                                                32
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 40 of 58



            surely, if ever a man is to receive credit for the good he has done, and his
            immediate misconduct assessed in the context of his overall life hitherto, it
            should be at the moment of his sentencing, when his very future hangs in
            the balance. This elementary principle of weighing the good with the bad. .
            . .was plainly what Congress had in mind. . . .

Adelson, 441 F. Supp. 2d at 513-14. As the recommendation by Probation and the numerous

letters submitted by friends, colleagues, and family members who know him best make clear,

Chris’ criminal conduct was an extreme deviation from his 69 years of being a model, law

abiding citizen. Chris’s family, friends, and colleagues give testament to that fact that he is a

fundamentally honorable person. He is “kind and decent.” Ex. A at 105 (Letter from August

Iacovitti). He conducts himself with the “highest” and “utmost” integrity. Ex. A at 116 (Letter

from James Olchawski); at 59 (Letter from Robert Stevenson); at 100 (Letter from Ronald

Nowak). He is a man of “caring nature and upstanding character.” Ex. A at 36 (Letter from Brian

Geary). In his dealings with others, Chris is “compassionate, loyal and sympathetic.” Ex. A at

117 (Letter from David Flaum). Simply: “He is a good man.” Ex. A at 55 (Letter from Robert

Schlehr).

       But, even good people make bad decisions. That is what happened here. There is no

question that Chris betrayed his own values:

            I know that Chris believes in the values of Scouting and that makes his
            current situation all the more difficult because I truly think that his action in
            this case was totally out of character for him.

Ex. A at 41 (Letter from Joseph McMahon). Those who know Chris “truly believe this incident

was an aberration that should not define him as a person.” Ex. A at 54 (Letter from John

Schmidt, Jr., Esq.). This theme is echoed throughout the attached letters of support. See, e.g., Ex.

A at 56 (“Chris Collins’ criminal conduct was an aberration and not who Chris truly is.”) (Letter

from Theresa Jehle); at 91 (describing the charges as “completely out of character” and “an



                                                   33
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 41 of 58



aberration of his character.”) (Letter from Hon. Todd Rokita); at 10 (“I can’t explain his

behavior, but I can say with all sincerity that this was completely out of character.”) (Letter from

Ted Collins); at 82 (“I do know that what he has pled guilty to is completely out of character

from my personal dealings with Chris.”) (Letter from E. Ronald Graham). In short, “sometimes

individuals make decisions that are outside the scope of character of who they are as a person –

an outlier event – and I firmly believe this to be the case with Chris.” Ex. A at 44 (Letter from

Cheryl Green, Esq.). Chris’ error in judgment does not reflect his true character.

               2.      A Non-Custodial Sentence Is Warranted in Light of Chris’ Exceptional
                       Public Service, Charitable Acts and Contributions to the Community

       In accordance with the fundamental policy concerns underlying section 3553(a), courts

should consider a defendant’s long and extensive history of good deeds and public service. See

Rita v. United States, 551 U.S. 338, 364-65 (2007) (concurrence) (“[C]ivic, charitable, or public

service are . . . matters that § 3553(a) authorizes the sentencing judge to consider.”). Accord

Adelson, 441 F. Supp. 2d at 513-14 (recognizing the defendant’s extensive history of compassion

and generosity).

       Indeed, “exceptional” good works warrant a meaningful variance for an individual like

Chris. United States v. Serafini, 233 F.3d 758, 773-74 (3d Cir. 2000). In Serafini, a case

involving an elected official, the Third Circuit upheld a Guidelines departure where many letters

supporting the defendant “contain[ed] substantive descriptions of Serafini’s generosity with his

time as well as his money.” Id. at 773. Indeed, “[s]everal constituents and friends described

situations in which Serafini extended himself to them in unique and meaningful ways during

times of serious need.” Id. Finding that Mr. Serafini was “an exceptionally giving person,”—

such as is the case here—the Third Circuit upheld the district court’s downward departure for

community and charitable activities. Id. at 774-75.


                                                 34
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 42 of 58



         In another case, the Third Circuit affirmed a variance due largely to the defendant’s

exceptional charitable acts and good works, resulting in a sentence similar to the sentence

requested in this submission—probation, home confinement, community service, and a

significant fine. See United States v. Tomko, 562 F.3d 558, 572 (3d Cir. 2009). See also United

States v. Thurston, 544 F.3d 22, 26 (1st Cir. 2008) (affirming reduced sentence (three months

against a Guidelines range of 60 months) in part based on the defendant’s “charitable work,

community service, generosity with time, and spiritual support and assistance to others”); Gupta,

904 F. Supp. 2d at 353 (imposing sentence of 24 months, against a Guidelines range of 78-97

months (a variance of 70%) in part because the record established “beyond cavil that Mr. Gupta

has selflessly devoted a huge amount of time and effort to a wide variety of socially beneficial

activities . . . .”).

         Over the past thirty-five years, if not longer, Chris has impacted countless lives for the

better. The letters of support recount a lifetime filled with charity, acts of kindness, generosity,

and love. They show a man driven by dedication to family, service to community, charity to

others, and a desire to better the world around him. As summarized above, many letters detail

Chris’s efforts to preserve and create jobs for hundreds of families in his community, the help he

provided to employees, friends, and constituents in need, and his work with the Boy Scouts to

positively impact the lives of young people. Others wrote powerfully of how Chris made a

difference in the lives of employees and other individuals in need. The help that Chris has

provided to employees, scouts, his constituents, friends, and relatives, squarely represents the

type of “exceptional” works that warrant a substantial variance.




                                                  35
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 43 of 58



                  3.       The Letters from Innate’s Former CEO, Former Chairman, and Investors
                           are Compelling Calls for Leniency

         The Court has before it letters from Innate’s former CEO and Chairman as well as four

letters from other Innate investors sent in support of Chris. Such appeals for leniency from

people so closely associated with a putative victim are unique in an insider trading case and, as

one court has recently observed, “a pretty significant statement.” United States v. Beshey, et al.,

Sentencing as to Shane Fleming (Aug. 30, 2019).9 In that case, involving a Life Time Fitness

executive who leaked information about the gym’s planned announcement that it was going

private, the court imposed a 60-day sentence on the tipping executive. That sentence, as Judge

Matthew Kennelly described, was “significantly lower” than what he had anticipated handing

down before Life Time’s former general counsel asked for leniency. Id. The support of the

company’s general counsel, the Court observed, said a great deal about the defendant’s character.

         Here, too, the letters from those associated with Innate demonstrate understanding,

sympathy and a sincere desire for leniency. As Simon Wilkinson, former Innate CEO writes:

             Mr Collins was a stalwart supporter of Innate for over 10 years and the
             Company would have failed on at least two separate occasions without his
             significant cash investments and his unwavering confidence in the
             Company and its clinical programs. . . . At the Board table, Mr Collins could
             be totally relied upon to put the interests of the Company and its
             shareholders at the forefront of any discussions or decisions that occurred.
             . . . I believe he cared very deeply for the plight of these patients and he
             steadfastly believed that the Company’s drug development efforts would
             ultimately lead to treatment breakthroughs for these patients.

                                              *        *        *

             I was shocked to learn of the allegations made against Mr Collins last year.
             Given Mr Collins personal wealth, I can only think that he had something
             akin to a ‘brain explosion’ upon learning of the completely unexpected

9
 While the transcript of this proceeding is not public on ECF, the statements quoted were published in an article
available at https://www.law360.com/articles/1194287/ex-fitness-vp-gets-2-months-for-tipping-go-private-deal
(Aug. 30, 2019).


                                                         36
       Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 44 of 58



          clinical trial result. . . . In light of this and all my previous positive and
          straight up and down dealings with Mr Collins, I am at a complete loss to
          explain or understand why he did what he did.

          Subsequent to him pleading guilty, Mr Collins has written to me saying his
          actions were stupid, rash, and inexcusable. He said he was racked with
          emotion and not thinking straight. I think those admissions tend to confirm
          my own initial reaction to his actions as noted above.

                                      *       *       *

          I would like to think that what I have been able to say in the letter might
          help the Court when considering it’s sentencing of Mr Collins.

Ex. A at 35–36 (Letter from Simon Wilkinson). Similar sentiments are expressed by Michael

Quinn, former Chairman of the Board of Innate:

          [T]he trial failure surprised and devastated everyone associated with the
          company. We were all shocked. That shock was compounded by the
          realisation that the patients on compassionate use would have the drug
          withdrawn and would return to the cruel path of physical deterioration.

                                      *       *       *

          [A]s we dealt with the news I expect many of the board and executives in
          New Zealand and Australia did share their dismay with family members. . .
          . It is no surprise to me that Chris was equally, if not more shattered as the
          rest of us when he heard the trial outcome. In what could only have been an
          emotional reaction to news, he made the reactive decision to share his
          dismay with someone close.

                                      *       *       *

          I know he is hurting. His reputational loss is immense. His Congressional
          resignation embarrassing. I am sure he finds it hard to face his many friends
          and colleagues whom he encouraged to support the company on its journey.
          I know he is shaken because he is at a loss to explain his blunder and can’t
          apologise enough for letting down his family, friends and colleagues. I
          expect he is finding his situation mentally challenging.

          Your Honor, as you ponder sentencing, may I request that you give
          consideration to Chris’s terrible reversal of personal circumstances and
          weigh his natural emotional but erroneous response to bad news against his
          huge support of the company and the years of contribution to his upstate
          New York community.

                                               37
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 45 of 58




Ex. A at 37–38 (Letter from Michael Quinn). One investor adds:

           Should Chris have known better than to make that telephone call?
           Absolutely. But, speaking as someone who has shared the Virionyx/lnnate
           journey with Chris over the course of all these years, I can understand the
           panic that must have set in when he heard the news that the trial had failed.
           His reputation and a lifetime of personal relationships were now suddenly
           at risk. That certainly doesn’t excuse his action in calling his son to share
           the news. But I hope it does help to explain his state of mind. His wasn’t a
           pre-meditated, carefully contrived plan to cheat. Rather, it was a
           spontaneous and emotional reaction to a devastating turn of events.

                                         *       *       *

           I’m not trying to minimize in any way the severity of the actions for which
           Chris had plead guilty. But I do hope that the context I’ve provided in this
           letter contributes some useful relevant perspective as you work your way
           through the sentencing process.

Ex. A at 48 (Letter from Geoffrey Rosenberger). See also Ex A at 51–52 (“I am an original

investor in Virionyx . . . I appeal to the Court to show leniency to a man, who has been an

outstanding citizen all his life except for one unlawful mistake that will affect him and his family

for the rest of their lives.”) (Letter from Craig Schreiber); at 110 (“If you look at Chris’ life in

totality it certainly isn’t defined by what I think must have been a momentary lapse in

judgment.”) (Letter from Innate investor Philip Corwin); at 59 (“In short, despite the fact that I

lost my investment I don't blame Chris and still consider him a friend.”) (Letter from Innate

investor Robert Stevenson).

       These submissions, from those involved directly with Innate and who also suffered losses

as a result of the failed drug trial, are telling. They recognize that Chris’ was in a state of shock

and disbelief when he learned the bad news, as were they, and that his bad decision to tell his son

about the results was undoubtedly the product of emotion. Moreover, they ask the court to weigh

this isolated breach of trust by Chris against the decade of support he provided to Innate in the



                                                  38
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 46 of 58



hope of developing a drug that would improve the lives of many who were suffering. It is

particularly revealing of Chris’ character and decency that individuals who not only held their

shares and lost money, but also suffered the failure of the entire company, emphatically support

Chris and ask for leniency. These are, indeed, “pretty significant statement[s].” Beshey, supra.

       E.      Chris Has Unquestionably Accepted Responsibility and Shown Complete
               Remorse

       Without question, Chris is a man of conviction and singular character who admittedly

committed a serious offense in contradiction to his core values. Who he remains as a person,

however, is evident from the manner in which he has responded to his failings.

       Chris deeply regrets engaging in the charged conduct and has fully accepted

responsibility. He has acknowledged that what he did was unlawful and entered a guilty plea at

an early stage, well before trial. Along with his guilty plea, he resigned from Congress ending a

decade of dedicated public service under a cloud of shame and humiliation. See Ex. A at 7 (“His

ability to help his constituents through his job as a Congressman gave his life purpose and joy.”)

(Letter from Caitlin Collins). Chris makes no excuses. See PSR ¶ 59 (“Based on the defendant’s

offense statement and timely plea, it appears that the defendant has accepted responsibility for

his actions in the offense.”); PSR ¶ 69 (“The defendant has clearly demonstrated acceptance of

responsibility for the offense”). As one friend and neighbor observes, “[t]hough his misconduct

has surprised me his show of remorse and his willingness to accept responsibility for his actions

has not.” Ex. A at 58 (Letter from Maureen Griffin Tomczak).

       As another friend explains, Chris’ shame and remorse are so great that it defies a ready

description—words simply cannot capture its breadth and completeness. Ex. A at 42 (“He is

ashamed and remorseful beyond what I have the ability to express.”) (Letter from Elizabeth

Donatello Vito, Esq.). These days, Chris is a humbled individual. Caitlin Collins explains that


                                                39
          Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 47 of 58



“[t]he man I know as my father is now a gentler, humbler, and more introspective man.” Ex. A at

7 (Letter from Caitlin Collins). Those around Chris know that he is “very remorseful” and

“disappointed in himself in that his actions are counter to the culture he was trying to create in

the community.” Ex. A at 103 (Letter from R. Cole Bergan). There is no question that Chris

“understands that his conviction will forever change his future and how he is perceived in our

community. He knows this and has expressed his deep remorse.” Ex. A at 22 (Letter from

Christopher Catt). See also Ex. A at 15 (Letter from Marcia Geary); at 59 (Letter from Robert

Stevenson); at 67 (Letter from Angelo Natale); at 75 (Letter from John Yurtchuk); at 86 (Letter

from Hon. Luke Messer); at 102 (Letter from Hon. Brian Babin); at 107 (Letter from Brian

Lipke).

          It is not the impact on himself, however, that most fuels Chris’ remorsefulness. He bears

the burden of knowing that he has harmed those whom he loves most. “I know firsthand that he

feels he has jeopardized his family with his actions. . . . Mr. Collins has expressed to me his

remorse, embarrassment, and sense of letting those he cared about down because of his actions.”

Ex. A at 24 (Letter from George McNerney). Chris’ sister adds that “I know his heart is broken

for what he has done and the pain he has caused his family and his community.” Ex. A at 12

(Letter from Claudia Topping).

          As Chris’ wife, Mary, explains Chris has been “torturing himself over this horrible failure

on his part,” which has been devastating to the entire Collins family. Ex. A at 3 (Letter from

Mary Collins). She describes:

             I can attest to Chris’ remorse over the rash, emotional phone call he made
             to our son, . . . He has spent his life protecting Cameron and he recognizes
             that the phone call has had a [devastating] impact on our family and on
             Cameron. Chris now has to live with the fact that Cameron has a felony
             conviction that will haunt him for the rest of his life. Nothing could be worse



                                                   40
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 48 of 58



            for a caring, loving Dad who always tried to steer Cameron to success and
            be a positive role model.

                                        *       *       *

            Our family has suffered terribly . . . As a mother and wife, I find myself
            reduced often to uncontrollable tears. Chris has been so devastated and
            ashamed of his actions that he finds it hard to go back home to Buffalo,
            where my whole world is.

                                        *       *       *

            I am asking you, Judge Broderick, to be merciful in your decision, taking
            into account all the pain and anguish our family and Chris has already
            endured . . . .

Id. Independent of the outcome in this case, the harm, anguish, and pain that Chris has caused

will be a permanent punishment: “the embarrassment and shame he brought upon himself and his

family will live with him for the rest of his life.” Ex. A at 111 (Letter from Hon. Michael

Ranzenhofer); see also Ex. A at 52 (“one unlawful mistake [ ] will affect him and his family for

the rest of their lives”) (Letter from Craig Schreiber). Chris will forever be haunted by what he

has done. See Ex. A at 3 (Letter from Mary Collins); at 7 (“He . . . remains haunted by the impact

on our family.”) (Letter from Caitlin Collins); at 55 (“One bad decision . . . will haunt him for

the rest of his life.”) (Letter from Robert Schlehr).

       F.      A Non-Custodial Sentence (With Conditions) Would Afford Adequate
               Deterrence and Protect The Public, Impose Just Punishment, and Promote
               Respect for The Law

       Chris has already paid, and will continue to pay, a very serious price for his crimes. As a

result of his felony prosecution, plea, and harsh collateral consequences, nobody can look at the

impact on Chris’ life and conclude he escaped with minimal consequences. Chris is already a

lesson to others. Moreover, society would receive no benefit from incarcerating Chris. He poses

no danger to the community and has given back to the public his whole life. Under the



                                                  41
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 49 of 58



circumstances of this case, a non-custodial sentence with home confinement, extensive

community service, and a considerable fine appropriately addresses the purposes of sentencing.

                1.      Incarceration Is Not Necessary for Specific Deterrence

        With respect to specific deterrence, given the aberrational nature of Chris’ conduct, his

extreme remorse, his advanced age, and the harsh collateral consequences of the offense, there is

no colorable risk that Chris will commit an offense in the future. Chris has and continues to pay a

very serious price—both personal and professional—for his crimes. Having experienced the

devastating effect that his criminal conduct has had on his family, and others, Chris will never

fall on the wrong side of the law again. In addition to enduring the penalty of a felony conviction

and the loss of various civil rights for the rest of his life, Chris entered into a civil settlement with

the SEC. As part of this agreement, he has been permanently barred from serving as an officer or

director of a public company and enjoined from future violations. He will not be in a position to

commit similar conduct.

        Chris’ professional life is now also at an end as a result of his offenses. In advance of

pleading guilty, he resigned from Congress. This was “one of the hardest things he has ever

done.” Ex. A at 7 (Letter from Caitlin Collins). Notwithstanding a lifetime of good works, Chris’

legacy will forever be tarnished: “[h]e . . . will always be known as the disgraced former

Congressman.” Ex. A at 3 (Letter from Mary Collins). His brother describes how the

consequences for Chris have been immediate and severe:

            Chris is a loving father and has always been there for his wife and children.
            He now has to live with the fact that because of his actions his only Son has
            been convicted of a felony.

            Chris has been known as a successful businessman and is now viewed by
            many as corrupt.

            He was known as the Honorable Congressman Collins and is now viewed
            as the disgraced former Congressman.
                                                   42
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 50 of 58




           Chris was considered a pillar of his community and is now known as a
           convicted felon.

Ex. A at 11 (Letter from Ted Collins). For “someone who so valued public life,” he “has already

dealt himself the most severe punishment that could be imposed.” Ex. A at 79 (Letter from Philip

Stokes).

       The public humiliation will follow Chris and mar him for the rest of his life. Cf. United

States v. Vigil, 476 F. Supp. 2d 1231, 1315 (D.N.M. 2007) (considering, when granting a

variance, the “incalculable damage” from “tremendous media coverage” including that the

defendant was “portrayed as the face of public corruption”) aff’d, 523 F.3d 1258 (10th Cir.

2008). The likelihood of recidivism in this case is infinitesimal and a sentence of incarceration is

unnecessary for specific deterrence. See, e.g., United States v. Gupta, 11 Cr. 907 (JSR)

(S.D.N.Y.) Sentencing Tr. at 54:3-6 (“As to specific deterrence, it seems obvious that, having

suffered such a blow to his reputation, Mr. Gupta is unlikely to repeat his transgressions, and no

further punishment is needed to achieve this result.”), attached as Ex. C; Adelson, 441 F. Supp.

2d at 514 (“[with the defendant’s] reputation ruined by his conviction, it was extremely unlikely

that he would ever involve himself in future misconduct.”). Specific deterrence has already been

achieved. As Probation recognizes: “[w]e believe that Collins will not be committing any illegal

actions in the future.” PSR at 36.

               2.      Incarceration Is Not Necessary to Achieve General Deterrence

       Under the circumstances described above, incarceration in this case is not necessary to

deter criminal conduct generally or promote respect for the law. The already-manifest

consequences, as well as the imposition of a sentence of probation with home confinement,

would serve as a profound example to anyone in a position to leak material non-public

information to a relative. The mere fact of a career-ending felony conviction generally deters bad
                                                 43
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 51 of 58



conduct among first-time offenders, who largely comprise the class of insider-trading

defendants. This is particularly true in the case of a convicted Congressman whose offense did

not concern the misuse of his office. The prosecution and plea in this case demonstrate that

nobody is above the law and that the consequences of insider trading are severe.

               3.      Society Will Derive No Benefit from Incarcerating Chris

       Chris has never been arrested before this case, and does not pose any danger to the

community. There is no need to protect the public from further crimes by him. Incarceration

would not only not further the purposes of sentencing, but it would be a societal detriment.

       Chris is 69 years old and his age, combined with his notoriety, would likely result in

higher costs of, and greater challenges to, achieving safe incarceration. In May 2015, the

Department of Justice’s Office of Inspector General issued a report titled “The Impact of an

Aging Inmate Population on the Federal Bureau of Prisons” (available at

https://oig.justice.gov/reports/2015/e1505.pdf) (revised February 2016). That report found that

the Bureau of Prisons had limitations on its ability to house elderly inmates and incurred a

greater cost to do so. The Report further concluded that aging inmates (age 50 and up) engage in

fewer incidents of misconduct while incarcerated and have a significantly lower recidivism rate

than for all federal inmates. Id. at i. Likewise, the First Step Act specifically emphasizes that the

“Bureau of Prisons shall, to the extent practicable, place prisoners with lower risk levels and

lower needs on home confinement for the maximum amount of time permitted under this

paragraph.” 18 U.S.C. § 3624(c)(2). And the pilot program evidences a Congressional intent of

encouraging home confinement for elderly offenders that pose no danger or risk of recidivism. A

sentence that incorporates home confinement rather than incarceration would be in keeping with

the Congressional intent behind the First Step Act.



                                                 44
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 52 of 58



       Further, if Chris receives a non-custodial sentence, he will be able to contribute to society

through extensive mandatory community service. Even in the absence of a court-order, Chris

would endeavor to spend his time volunteering and giving back to the community as he has done

throughout his life.

       As one former colleague observed: “I am convinced that, if given the opportunity, Chris

has more to offer to his family and nation.” Ex. A at 86 (Letter from Hon. Luke Messer). As

many of the other attached letters describe, Chris’ good deeds have been exceptional and

extensive throughout his lifetime. His generosity of spirit, kindness of soul, and strength of

character make clear the impact that Chris’ deeds have had on countless people. Fashioning a

sentence structured around community service guarantees that he will continue giving back the

community, as he has done for all of his life. See, e.g., Ex. A at 65 (“If incarcerated he will read

books, exercise and wait for his sentence to pass. Our society will not be any better served.”)

(Letter from Paul Shine); at 92 (“I think Chris has a lot left to give his community and society in

general.”) (Letter from Hon. Todd Rokita). To this end, Chris has already sought to identify

community service organizations and potential opportunities. These would, of course, be subject

to approval by Probation, but could include among other enterprises: (a) a national small

business resource organization wherein Chris could provide the type of mentorship and

assistance that many of the attached letters emphasize has been so important over the years; (b) a

nation-wide program serving low-income residents, veterans, and others, including the infirm

and homebound, addressing hunger and nutrition needs prevalent in every community; (c) a

national organization focused on constructing homes for needy members of local communities,

and one that could greatly benefit from Chris’ engineering, handyman, and woodworking skills;

and (d) an organization dedicated to serving children and teens as they learn and grow into



                                                 45
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 53 of 58



productive and caring citizens (young entrepreneur programs, financial literacy, and the overall

mission could benefit from Chris’ experience, knowledge, and wisdom, including as a father,

grandfather, businessman, and mentor). He would be prepared to begin immediately after

approval.

         In short, Chris should be somebody who is part of the community, not removed from it.

         G.       A Non-Custodial Sentence Is Warranted to Avoid Sentence Disparities

         A non-custodial sentence which incorporates significant home confinement is appropriate

when looking at other similarly situated individuals who have pled guilty to insider trading

offenses. Indeed, a broad survey of insider trading cases shows that a probationary sentence (or

time served) is common where individuals have pled to at least one substantive insider trading

offense or an insider trading conspiracy. This is true based on a review of cases in this District,

as well as nationally.10

         Judges in the Southern District of New York (and elsewhere) have recognized that, for

defendants who have pled guilty to insider trading, probation or home confinement provides

appropriate, substantial, and just punishment. Former Arthur Anderson Managing Partner, H.

Clayton Peterson who tipped his son material non-public information (on which the son traded

and tipped another) received a non-custodial sentence for his insider tipping activities. Mr.

Peterson, a board member of Mariner Energy, tipped his son, an industry insider, to an impeding

merger following his participation on a telephonic board meeting discussing this material non-

public information. The illicit profits from the entire scheme totaled in excess of $5 million. He




10
  In considering this factor, it is necessary and appropriate to look at the body of case law developed nationwide.
See United States v. Toohey, 132 Fed. App’x 883, 886 (2d Cir. 2005) (“Congress’s ‘objective was to eliminate
unwarranted disparities nationwide.’”) (quoting United States v. Joyner, 924 F.2d 454, 460-61 (2d Cir. 1991));
United States v. Caraballo, 219 Fed. App’x 99, 101 n.1 (2d Cir. 2007).


                                                         46
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 54 of 58



received two years’ probation including three months of home confinement and a $400,000 fine.

United States v. Peterson, No. 11 Cr. 664 (RPP) (S.D.N.Y. 2012).11

        Similarly, Judge Swain recently sentenced Robert Stewart, a 61-year-old father and

grandfather to four years’ probation including a year of home confinement following his plea to

participating in a trading scheme that produced $1.6 million in profits. Over the course of four

years, Mr. Stewart’s son provided material non-public information which Mr. Stewart used to

both trade and tip another. Mr. Stewart received probation despite lying in the course of the

government’s investigation. Judge Swain acknowledged that there are significant consequences a

court could impose beyond a custodial term. Given the restrictions of home confinement, the

legal troubles faced by Mr. Stewart’s son, the need to care for his wife, Stewart’s age and

otherwise lawful and positive life, Judge Swain’s imposed a sentence of probation with home

confinement. United States v. Stewart, 15 Cr. 287 (LTS) (S.D.N.Y. 2016).

        Likewise, Judge Chin sentenced Ken Okada to three years’ probation for his participation

as both a tipper and tippee in a pervasive insider trading ring. Mr. Okada received $300,000 in

profits and made false statements to the FBI prior to his guilty plea. United States v. Okada, 07

Cr. 144 (DC) (S.D.N.Y. May 6, 2008). District of New Jersey Judge Shipp sentenced Richard Yu

to one-year of home confinement following a guilty plea to trading on, and tipping, inside

information that Yu had received on two separate occasions. Mr. Yu realized $93,000 in profits

while his tippee realized $107,000. United States v. Yu, 17 Cr. 349 (MS) (D.N.J. 2017). See also

United States v. Ng, 11 Cr. 161 (JSR) (S.D.N.Y. 2012) (tipper who violated his fiduciary duties



11
   Even Drew Brownstein, a downstream tippee and an industry insider, reaped millions in illegal profits yet only
received year and a day in prison following his guilty plea. FBI, “Hedge Fund CEO Sentenced” (Jan. 11, 2012)
available at https://archives.fbi.gov/archives/newyork/press-releases/2012/hedge-fund-ceo-sentenced-in-manhattan-
federal-court-to-one-year-and-one-day-in-prison-for-insider-trading-scheme-that-netted-nearly-2.5-million-in-
profits.


                                                       47
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 55 of 58



sentenced to probation); United States v. Collotta, 07 Cr. 143 (VM) (S.D.N.Y. 2007) (Morgan

Stanley attorney at the apex of the scheme sentenced to four years’ probation, six months’ home

confinement, and 60-days imprisonment); United States v. Bonthu, 18 Cr. 237 (AT) (N.D. Ga.

2018) (defendant received eight months’ home confinement following his sale of stocks sold due

to knowledge of insider information); United States v. Perez, 17 Cr. 538 (MS) (D.N.J. 2017)

(defendant who traded following two separate tips from an insider sentenced to one year home

confinement); United States v. Cope, 16 Cr. 210 (AAT) (M.D. Tenn. 2016) (defendant who was

an attorney and board member violated his fiduciary duty by trading on inside information

received two years’ probation including nine months’ home confinement); United States v.

Melvin, 14 Cr. 22 (TCB) (RVG) (N.D. Ga. 2014) (defendants, the tipper and the tippee, both

received a one-day prison sentence along with probation following participation in an insider

trading scheme netting $550,000 in profits); United States v. Zeringue, 14 Cr. 67 (BAJ) (RLB)

(M.D. La. 2014) (defendant-tipper sentenced to three years’ probation).

       As the cases above demonstrate, non-custodial sentences are common “among defendants

with similar records who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).

Indeed, it has been the necessary conclusion of such courts that the Guidelines are overly

punitive when it comes to insider trading cases like this one.

       It is notable that criminal prosecutors frequently decline to charge tippers when they do

not receive any financial gain from a tippee’s trade. Recent prominent cases illustrate this point.

See, e.g., United States v. Newman, 773 F.3d 438, 443 (2d Cir. 2014), abrogated by Salman v.

United States, 137 S. Ct. 420 (2016) (in scheme with nearly $70 million in profits from illegal

trading, insider/tipper (Rob Ray) was not charged at all and another insider/tipper (Chris Choi)

faced only civil charges); United States v. Martoma, 894 F.3d 64 (2d Cir. 2018), 2013 WL



                                                48
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 56 of 58



12196768 (S.D.N.Y. Dec. 26, 2013) (neither doctor/tipper was charged, and both received non-

prosecution agreements, in what the Government described as the most lucrative insider trading

scheme ever charged).

       Moreover, solely for purposes of pointing out the significant punitive effect of Chris’

felony conviction in this case as compared with other insider trading cases involving similar or

larger trading amounts that are handled civilly only. The SEC often singularly handles insider

trading cases with comparable gains/losses through its civil authority to impose punishments

such as disgorgement, fines, and officer and director bars. See, e.g., SEC v. Lawson, 14 Cv 02157

(N.D. Cal. 2014) (settling, civilly, an insider trading case involving a co-chairman who tipped his

brother and a family friend in advance of a merger resulting in nearly $2 million in profit); SEC

v. Williky, 15 Cv 357 (S.D. Ind. 2015) (charging civilly a securities fraud recidivist who engaged

in a pump-and-dump scheme for over $860,000 in profit). The SEC has also engaged as the only

investigative authority where an insider tipped but did not personally trade. See SEC v. Deeba,

19 Cv 05346 (N.D. Cal. 2018) (settling with a $581,170 penalty from a corporate executive who

tipped his two brothers in advance of an announcement of poor financial results).

       We highlight the aforementioned instances where tippers or insider traders were not

charged criminally, not to take issue with the prosecutorial discretion exercised in this case, but

rather merely to emphasize that Chris’ felony conviction standing alone, is already significantly

more punitive than certain comparable cases that were left for the SEC to handle civilly.

Notwithstanding this important point, Chris fully accepts that his prosecution and plea were well

founded.




                                                 49
         Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 57 of 58



         H.       The Kinds of Sentences Available Strongly Support The Appropriateness of A
                  Non-Custodial Sentence

         Section 3553(a)(3) requires the Court to consider what sentences are available in

fashioning an appropriate remedy. A sentence of probation is no minor sanction and, indeed,

such a sentence “substantially restrict[s]” a defendant’s freedom. Gall, 552 U.S. at 48 (upholding

a sentence of probation as reasonable notwithstanding a Guidelines range of 30-37 months).

Accord United States v. Knights, 534 U.S. 112, 119 (2001) (“Inherent in the very nature of

probation is that probationers ‘do not enjoy the absolute liberty to which every citizen is

entitled.’”) (quoting Morrisey v. Brewer, 408 U.S. 471, 480 (1972)). As Judge Gleeson

articulated:

               [I]t bears emphasis that when a judge chooses between a prison term and
               probation, she is not choosing between punishment and no punishment.
               Probation is less severe than a prison term, but both are punishment. And as
               the Supreme Court has recognized, probation is significant punishment.

                                                  *         *        *

               In addition to standard and special conditions, there is an array of alternative
               sanctions—home confinement, community service, and fines, for
               example—that allow judges to impose enhanced (and sometimes even
               constructive) punishment without sending the defendant to prison.

Leitch, 2013 WL 753445 at *12 (citations omitted). Probation, with conditions including home

confinement, is a substantial punishment which in this case achieves the statutory sentencing

purposes of section 3553.12


12
   As noted above, home confinement for an elderly, non-violent offender with a low risk of recidivism is also in
line with the recently stated preference of Congress in enacting the First Step Act and authorizing the pilot program.
Should the Court, however, determine that some amount of incarceration is nevertheless necessary, we respectfully
submit that service of any term in a Residential Reentry Center (RRC) (i.e., halfway house) would be most adequate.
RRCs are fully recognized as a form of incarceration. See, e.g., Levine v. Apker, 455 F.3d 71 (2d Cir. 2006).
Alternately, a split sentence would satisfy the need for incarceration in light of the section 3553(a) factors. See, e.g.,
Chow, 17 Cr. 667 (Co-founder and partner at Canyon Bridge Capital sentenced to three months’ imprisonment and
nine months’ home confinement (against a Guidelines range of 78-97 months) after being found guilty at trial, and
not having accepted responsibility).


                                                           50
        Case 1:18-cr-00567-VSB Document 149 Filed 01/07/20 Page 58 of 58



VI.    CONCLUSION

       Chris pled guilty early and admitted his role in criminal conduct. He has shown extreme

remorse and already paid dearly for his crimes. He has resigned from Congress in disgrace. In

light of Chris’ exemplary character, acceptance of responsibility, long history of community and

public service, extensive record of charitable acts and the need to avoid unwarranted sentence

disparities, we respectfully request that the Court impose a sentence of probation, with

conditions requiring a significant term of home confinement, extensive community service, and

the imposition of a substantial fine. Such a sentence achieves the statutory sentencing purposes

of section 3553 and represents a proper balancing of the history and characteristics of the

defendant with the nature and seriousness of the criminal offenses. None of the purposes of

sentencing would be furthered by anything greater.



                                                     Respectfully submitted,

New York, NY
January 7, 2020

                                                     BAKER HOSTETLER LLP
                                                     By: /s/ Jonathan B. New
                                                     Jonathan B. New
                                                     45 Rockefeller Plaza, 14th Floor
                                                     New York, NY 10111
                                                     T: 212.589.4200
                                                     F: 212.589.4201
                                                     jnew@bakerlaw.com

                                                     Jonathan R. Barr
                                                     Kendall E. Wangsgard
                                                     Washington Square, Suite 1100
                                                     1050 Connecticut Avenue, N.W.
                                                     Washington, DC 20036
                                                     T: 202.861.1500
                                                     F: 202.861.1783
                                                     jbarr@bakerlaw.com
                                                     kwangsgard@bakerlaw.com
                                                51
